                                  No. 21-16278


             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT


               CALIFORNIA RESTAURANT ASSOCIATION,
                         Plaintiff-Appellant,

                                       v.

                             CITY OF BERKELEY,
                              Defendant-Appellee


                  Appeal from the United States District Court
                    For the Northern District of California
                     Honorable Yvonne Gonzales Rogers
                            (4:19-cv-07668-YGR)


            DEFENDANT-APPELLEE CITY OF BERKELEY’S
               PETITION FOR REHEARING EN BANC


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                INTRODUCTION AND RULE 35 STATEMENT

      In this federal preemption case, the need to maintain uniformity in this

Court’s decisions and the exceptional importance of the issues demand rehearing

en banc.

      The panel’s invalidation of the City of Berkeley’s prohibition on natural gas

infrastructure in newly constructed buildings is based upon fundamental legal

errors that threaten vital health, safety, and environmental regulations throughout

the Circuit. The decision holds that the Energy Policy and Conservation Act’s

“general rule of preemption for [appliance] energy conservation standards,” 42

U.S.C. § 6297(c), reaches far beyond local measures requiring greater efficiency

for covered products, to disable state or local regulations that for any reason limit

such products’ use.

      That ruling is seriously wrong and highly consequential. Indeed, the regime

the panel discerned in this unheralded 35-year-old provision is in every way

extraordinary. It makes the federal government’s establishment of an efficiency

standard for an energy-consuming product the trigger for automatic

displacement—but not replacement—of vast swaths of health and safety

protections that serve purposes wholly unrelated to conserving energy.

      There is no indication Congress meant EPCA to work such anomalous

disruption. Rather, the statute’s text and structure and controlling statutory

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construction precedents identify the preemption provision’s operative domain: to

displace local conservation standards for covered appliances and thereby secure the

federal government’s exclusive responsibility for determining how energy-efficient

such products must be. The straightforward reading the panel rebuffed (advanced

by all the many state and municipal amici, and the ostensibly preempting sovereign

itself) is the “only one [that] produces a substantive effect that is compatible with

the rest of the law.” Sackett v. EPA, 2023 WL 3632751, at *13 (May 25, 2023)

(citations omitted).

      The decision’s departure from binding precedent has immediate and wide-

ranging practical significance. The new preemption rule will “adversely affect the

[Energy] Department’s administration of EPCA’s Energy Conservation Program,”

by “destabiliz[ing]” long-settled and widely shared understandings as to

“allocation of regulatory authority,” U.S. Amicus Br. 25. Indeed, the decision not

only condemns Berkeley’s and many similar laws addressing serious harms caused

by indoor combustion of natural gas, but also endangers subnational governments’

powers over an array of matters—from building safety, to zoning, fire prevention,

and water distribution—that the Constitution, Congress, and history recognize as

quintessentially local responsibilities.




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                                 BACKGROUND

      In 2019, Berkeley adopted an ordinance prohibiting installation of natural

gas infrastructure, such as piping, in newly constructed buildings. Berkeley Mun.

Code § 12.80.040(A) (Ordinance). Its purpose is to “reduc[e] the environmental

and health hazards produced by the consumption and transportation of natural

gas,” id. § 12.80.010(H), including emissions of nitrogen oxides and other health-

harming and climate-destabilizing pollutants.

      Appellant California Restaurant Association (CRA) sued, claiming the

Ordinance is invalid under EPCA’s “general preemption rule for energy

conservation standards,” which denies effect to state or local “regulation[s]

concerning the energy efficiency, energy use, or water use” of appliances for

which a federal energy conservation standard has been established. 42 U.S.C.

§ 6297(c). See id. § 6295 (prescribing and authorizing federal standards). The

district court dismissed, concluding that the Ordinance’s effect on appliances’

efficiency was “at best indirect[]” and that EPCA does not “sweep into areas that

are historically the province of state and local regulation.” 547 F. Supp. 3d 878,

891-92 (N.D. Cal. 2021).

      A panel of this Court reversed. Judge Bumatay’s opinion for the Court first

concluded that CRA had standing, pointing to its allegations that restaurants “rely

on natural gas for preparing certain foods,” Op. 10, and that “one or more of its

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members would like to open or relocate a restaurant in a new Berkeley building.”

Id.

      On the merits, the panel held that 42 U.S.C. § 6297(c) could not be

interpreted as the City and governmental amici urged—as targeting rules that in

practical effect set energy conservation requirements for covered appliances.

Rather, the panel reasoned, Section 6297(c)’s reference to “energy use” and the

statute’s definition of that term as “the quantity of energy directly consumed by a

consumer product at point of use,” Op. 12 (partially quoting id. § 6291(4)), create a

right to “us[e] covered products in [consumers’] homes, kitchens, and businesses,”

immune from state and local regulation. Op. 13, 15. Berkeley’s ordinance was

unenforceable, because its effect is to “lower[] … to zero” the “quantity” of natural

gas that appliances in new buildings will consume. Op. 13-15.

      This conclusion, the decision explained, was cemented by Congress’s use of

the word “concerning”—signaling an intent to sweep beyond “regulations of”

energy efficiency or use; by precedents prohibiting circumvention of Congress’s

preemption purposes; and by recent decisions of this Court holding that, in disputes

involving express preemption provisions, the presumption against preemption is no

longer operative. See Op. 12-13; R.J. Reynolds Tobacco Co. v. County of Los

Angeles, 29 F.4th 542, 553 n.6 (9th Cir. 2022).



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        Judge O’Scannlain separately explained that, but for these recent cases,

CRA’s claim would have “already [been] resolved,” against preemption, Op. 24, by

this Court’s rejection of EPCA preemption in Air Conditioning & Refrig. Inst. v.

Energy Res. Conserv. & Dev. Comm’n, 410 F.3d 492 (9th Cir. 2005). He

questioned the later cases’ conclusion that Puerto Rico v. Franklin California Tax-

Free Trust, 579 U.S. 115 (2016), had jettisoned Air Conditioning and decades of

Supreme Court and Circuit cases applying the presumption in construing

preemption provisions. Op. 24-25. Noting a “circuit split” on Franklin’s

implications, he lamented Circuit law’s “troubling and confused” state. Op. 26, 35-

36. 1

                                    ARGUMENT

        The panel decision misinterpreted a modest provision of EPCA, designed to

smooth the operation of Congress’s energy-conservation standard-setting regime,

as instead enacting a preemptive juggernaut. On the panel’s reading, Section

6297(c) provides that when the Energy Secretary establishes an energy

conservation standard, she renders unenforceable every state and municipal rule

that limits the use of a covered appliance—including health, safety, and



        Judge Baker (Court of International Trade) also concurred, while
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expressing concern about CRA’s “failure to identify any specific member injured
by the Ordinance.” Op. 38.

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environmental measures wholly unconcerned with energy conservation or

efficiency. And because EPCA does not vest the Secretary with authority to

regulate those matters federally, those interests, under the panel’s rule, are simply

left unprotected.

       That extraordinary legal regime cannot be reconciled with EPCA and

governing statutory construction precedents. Section 6297(c)’s plain text and

context foreclose the panel’s conclusion that EPCA creates an end-user right to

operate EPCA-regulated appliances free of local restrictions. And the panel

wrongly treated Circuit precedent disapproving a narrow-construction rule for

express preemption clauses as requiring courts to affirmatively disregard the

implications for the federal-State balance.

      The en banc Court should disavow this vast and unauthorized preemption

regime and the decision’s federalism-denying interpretive approach. The decision

disrupts the coherent and effective administration of an important federal statute,

overrides many existing measures similar to Berkeley’s, and improperly denies

States and municipalities authority to address matters “at the core of traditional

state authority.” Sackett, 2023 WL 3632751, at *14.




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   I. The Panel’s Grievous Misinterpretation of EPCA Departs from this
      Court’s Statutory Construction Precedents

      A. The Panel Misread a Preemption Provision Forbidding States from
         Adopting their Own Energy Conservation Standards as a Sweeping
         Prohibition of Local Laws Addressing Other Topics.

      On the panel’s account, EPCA divests States and localities of authority to

enforce any measure that for any reason limits (or prevents) some individual’s use

of an appliance subject to a federal energy-efficiency standard: “Put simply, by

enacting EPCA, Congress ensured that States and localities could not prevent

consumers from using covered products in their homes, kitchens, and businesses.”

Op. 15. But EPCA’s text, structure, and enactment history and this Court’s

governing precedents make exceptionally clear Congress did nothing of the sort.

      The decision critically erred in approaching Section 6297(c) as if Congress

enacted a freestanding law displacing local regulations that restrict use of certain

appliances. But bedrock interpretative principles require that a statutory provision’s

words be construed “with a view to their place in the overall statutory scheme,”

and to enable that scheme to operate as a coherent regulatory program. FDA v.

Brown & Williamson Tobacco Corp., 529 U.S. 120, 133 (2000). And specifically,

in ascertaining “the domain expressly pre-empted,” courts must look to “the

surrounding statutory framework” and “Congress’s stated purposes in enacting the


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statute,” National R. Passenger Corp. v. Su, 41 F.4th 1147, 1152 (9th Cir. 2022)

(citations omitted), and are “compelled to adopt a reading of the preemption clause

that conforms with the statute’s structure.” Gordon v. Virtumundo, Inc., 575 F.3d

1040, 1063 (9th Cir. 2009).

      Had the panel “step[ped] back to examine [EPCA] as a whole,” Gale v. First

Franklin Loan Servs., 701 F.3d 1240, 1244 (9th Cir. 2012), it would have

recognized that Congress adopted Section 6297(c) to complement the statute’s

federal appliance-efficiency standard-setting regime—assigning it the important

but limited role of safeguarding those standards’ exclusivity. Every element of the

surrounding statutory structure confirms this understanding; it is “the only one

[that] produces a substantive effect…compatible with the rest of the law.” Sackett,

2023 WL 3632751, at *13 (citations omitted).

      The preemption provision is part of a statute first enacted amid the 1970s

energy crisis to “conserve energy supplies,” by “improv[ing] energy efficiency”

and “water efficiency” of major appliances and other products. 42 U.S.C.

§ 6201(4), (5), (8). The disputed provision appears under a section specifying the

“effect on other law[s],” id. § 6297, of product-specific “energy conservation

standards,” performance requirements —expressed in terms of “energy use” or

“efficiency,” id. § 6291(6)—set either by Congress itself, or DOE, id. § 6295, after



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considering technologically and economically feasible ways of enhancing those

products’ efficiency, id. § 6292.

      Section 6297(c) is titled “General rule of preemption for energy

conservation standards when Federal standard becomes effective for product,” and,

as this Court’s extensive canvas of EPCA’s enactment history in Air Conditioning

establishes, that heading—textually linking the regulated and preempted subject

matter—was no slip of the legislative pen. The relevant parts of the current

standard-setting and preemption provisions (and the waiver-of-preemption

provision, see pp. 11-12, infra) were enacted in the same 1987 legislation, whereby

Congress completed EPCA’s transformation from an informational labeling statute

to one imposing mandatory, nationally uniform federal performance standards, 410

F.3d at 498-99—but simultaneously spared manufacturers any obligation to

comply with a “patchwork” of local efficiency requirements, see id. at 500

(quoting S. Rep. No. 100-6, at 4). 2

      Rather than recognizing the preemption provision’s role as an adjunct to

EPCA’s standard-setting regime, the panel held that local “energy conservation

standards” are just the beginning of the preempted domain. It ruled that under



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         The panel downplayed the “subsection’s title”—contrasting it with the
“plain text,” Op. 19-20, overlooking that the title was no less part of the law
Congress enacted, see Pub. L. 100-12, Sec. 7(c) (Mar. 17, 1987).

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Section 6297(c), establishment of a federal conservation standard displaces laws,

like the Ordinance, that are unconcerned with how efficiently any appliance

consumes energy. That construction is radically “inconsisten[t] with the design and

structure of the statute as a whole,” Univ. Texas Sw. Med. Ctr. v. Nassar, 570 U.S.

338, 353 (2013), yielding a regulatory regime both inexplicable and incoherent.

      First, while Section 6297(c) makes preemption the automatic consequence

of a standard’s taking effect, there is no hint that Congress, in directly setting

energy conservation standards for refrigerators, freezers, furnaces, and other

ubiquitous appliances in 1987, see 42 U.S.C. § 6295, contemplated that it was

immunizing those products from local health, safety, or zoning regulations that

might limit their placement or use. Nor does EPCA direct the Department of

Energy—an agency with experience in energy conservation, but no comparable

expertise in fire safety or health harms—to consider those sweeping ostensible

displacement consequences when establishing additional federal standards

administratively. The “[f]ederal law does not speak to these issues.” Dan’s City

Used Cars, Inc v. Pelkey, 569 U.S. 251, 265 (2013).

      Indeed, the panel’s rule makes the “radical shift of authority from the States

to the Federal Government,” disapproved in Gonzales v. Oregon, 546 U.S. 243

(2006), seem tame by comparison. Well beyond “delegat[ing] to a single executive

officer the power … to define general standards of [health and safety] … in every

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locality,” id. at 275, the regime creates a “regulatory void,” U.S. Amicus Br. 23,

where the presence of a federal conservation standard means that neither the

locality nor the Secretary can act.

      For example, no federal agency exercises general authority to regulate

indoor air pollution, even though it poses many serious health hazards. 3 Instead,

state and local laws are the public’s principal protection. Yet, on the panel’s

reading, laws like California’s decades-old statute guarding against carbon

monoxide asphyxiations by prohibiting “unvented heaters … designed to be used

inside any dwelling house or unit,” Cal. Health & Safety Code 19881, would be

unenforceable, because they “prevent consumers from using covered products in

their homes,” Op. 15. See 42 U.S.C. § 6292(a)(9) (classifying “direct heating

equipment” as a “covered product”).

      Gratuitous disabling of local regulation unconcerned with energy

conservation does not exhaust the “fundamental respects” in which the decision’s

interpretation is “inconsistent with the design of the statute.” Gonzales, 546 U.S. at

265. It also creates a wild mismatch between Section 6297(c) and its integrally

related neighbor: the Section 6297(d) waiver regime. The statute limits the waiver-

of-preemption mechanism to measures that save more energy than would the


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        See EPA, Regulatory and Guidance Information by Topic: Air (“EPA does
not regulate indoor air”), https://tinyurl.com/mpfskudp.

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federal standard. 42 U.S.C. § 6297(d)(1)(c)(ii). Thus, on the panel’s understanding,

waivers are available for extra-stringent efficiency regulations—which, by

definition, detract from the national uniformity Congress sought to promote—but

unavailable for health and safety measures, no matter how pressing, that do not

implicate uniformity concerns. Cf. Dilts v. Penske Logistics, LLC, 769 F.3d 637,

647-48 (9th Cir. 2014) (declining to find preemption of state laws that do “not

contribute to an impermissible ‘patchwork,’ … [thereby] defeating Congress’

[statutory] objectives”).

      Furthermore, the criteria for statutory “cover[age]”—the trigger for

automatic preemption—have nothing to do with the subject-matter of the laws the

panel decision held EPCA displaces. The decision presented as a strength of its

approach that, for non-covered appliances, local regulations would be entirely

undisturbed. Op. 19 n.6. However, what distinguishes covered appliances from

uncovered ones is not that they pose fewer health or environmental dangers, but

that they consume (and, if made more efficient, will save) more energy. On the

panel’s reading, Congress conferred immunity from local safety and environmental




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regulation only on products with the largest energy footprints. “No such design can

be attributed to a rational Congress.” Dan’s City, 569 U.S. at 265. 4

      All these anomalies disappear—and the statute’s program is made

symmetrical and coherent—when Section 6297(c)’s preemptive effect is construed

to track EPCA’s standard-setting regime, so that the Section 6295 standard

provides manufacturers a certain, definitive statement of how energy-efficient their

product must be, foreclosing any possibility of more stringent or conflicting local

performance requirements.

      The decision’s ostensible “plain meaning” bases for giving Section 6297(c)

vastly broader sweep are untenable. The panel discerned in EPCA’s definition of

“energy use” as “the quantity of energy directly by a consumer product at point of

use” a congressional intent to vest “end-users” with a right to use, free of local

regulation, any appliance that passes muster under Section 6295. Op. 15. That

would be a startlingly disruptive rule, entitling residents to install industrial

appliances in studio apartments, for example. But it fundamentally misreads the

cited text. ECPA’s “energy use” definition does not stop, as does the panel’s

quotation, at “point of use,” but rather addresses “the quantity…consumed…at



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        Notably, the appliances that purportedly launched the case, commercial gas
stoves, are not covered. See 42 U.S.C. § 6311(1); see also 547 F. Supp. 3d at 884
(nor ovens).

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point of use, determined in accordance with test procedures under section 6293 of

this title,” 42 U.S.C § 6291(4) (emphasis added), showing Congress was concerned

not with how much energy is consumed in a particular “residence, kitchen, or

business”—but rather with assigning a unitary, nationally uniform value, derived

by running the manufacturer’s appliance under standard, representative conditions.

Id. § 6293(b), see also id. § 6296(b)(5) (addressing “requirements of

manufacturers” regarding such tests).

      Equally unavailing is the inference that if “zero is a ‘quantity,’” Op. 14, any

law that restricts the operation of energy-consuming appliances is a forbidden

“regulation concern[ing] … energy use”—because it “lowers” “the quantity of

energy directly consumed,” Op. 12, “to zero,” id. 15. That mistakes the “outer

limits of … definitional possibilit[y],” Dolan v. U.S. Postal Serv., 546 U.S. 481,

486 (2006), for unambiguous meaning. To be sure, “quantity” does not in all

contexts exclude zero; it makes sense to speak of a “zero-calorie beverage.” But it

strains ordinary meaning to describe a measure that, say, dedicates a parcel of land

for use as open space or a dump as a regulation “concerning building height,”

because its effect is to “lower to zero” the height of any building that could be

erected there. Likewise, no one would describe a prohibition on using barbecues

indoors, or commercial refrigerators in apartments, or loudspeakers at night, as

regulations of (or “concerning”) the quantity of energy those products may

                                          14
consume. Those prohibitions address where or when an appliance is used, not how

much energy it consumes.

      So too here. Berkeley’s ordinance is manifestly concerned, for health and

environmental reasons, with which fuel is combusted—by EPCA-covered and non-

covered appliances alike—in new buildings. It is unconcerned with the quantity of

energy that appliances use or with energy conservation generally. (Indeed, some

EPCA-compliant electric appliances may be less energy-efficient than gas-powered

ones, see, e.g., 10 C.F.R. § 430.32(h)(3)(iii)-(iv) (rules for compact clothes

dryers)).

      Nor can Section 6297(c)’s use of “concerning” rather than “of,” do the work

the decision assigned it. Op 16. Accepting that “concerning” has a broader

meaning does not establish that Congress’s use here reflects a deliberate preference

for drastic expansion. Repeatedly in EPCA—including within the disputed

provision and adjacent ones—Congress used the term “concerning” precisely as

the decision insisted it could never have: as a synonym for “of.” See, e.g., 42

U.S.C. §§ 6297(b)(6,7), 6297(c)(4-9), 6297(d)(6), 6297(f)(1,2,3). In any event,

“concerning” can be given a distinct meaning without taking the panel’s “sky is the

limit” approach. Dan’s City, 569 U.S. at 260. For example, a measure that

restricted natural gas hookups to appliances that exceeded the federal conservation

standard, U.S. Amicus Br. 15, or that effectively compelled builders to include

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hyper-efficient appliances, could be preempted. Cf. Building Indus. Ass'n v.

Washington State Bldg. Code Council, 683 F.3d 1144 (9th Cir. 2012) (applying

Section 6297(f) exemption). Such measures, unlike Berkeley’s ordinance, would

impair EPCA’s single-standard system.

      Sweeping preemption is not needed to ward off local measures designed to

“dodge” Congress’s preemptive intent. Op. 17. For example, a law imposing more-

stringent-than-federal efficiency standards on purchasers of covered appliances

might have the same impermissible uniformity-thwarting effect as a requirement

directed at sellers—and therefore deserve the same fate. See Engine Mfrs. Assn v.

SCAQMD, 541 U.S. 246, 255 (2004). But policing circumvention does not support

a boil-the-ocean approach, foreclosing local measures that do not implicate

EPCA’s uniform-standards concern. It is one thing to recognize a shield from local

efficiency regulation for appliances that pass federal energy-conservation muster,

and something else altogether to treat federal efficiency standards as conferring

rights to use appliances free of all local regulation. Congress, in EPCA, did only

the former.




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      B. The Decision Reflects and Exacerbates Intra-Circuit Confusion over the
         Proper Construction of Preemption Clauses.

      For reasons just explained, it was error to treat the preemption conclusion as

following from this Court’s recent decisions limiting the anti-preemption

presumption; EPCA simply cannot support the panel’s sweeping preemption rule.

      But the decision reflects a further fundamental mistake—one that deepens

the difficulties Judge O’Scannlain’s concurrence comprehensively documented. As

acknowledged even in the recent decisions he questioned, discarding a categorical

narrow-construction rule does not entitle courts to disregard federalism

implications when interpreting express preemption provisions. Rather, these cases

affirm, even though “a state's traditional regulation in an area is not, standing

alone, sufficient to defeat preemption in the face of an express preemption clause,”

Int’l Bhd. Teamsters v. FMCSA, 986 F.3d 841, 853 (9th Cir. 2021), “courts deciding

whether a particular state law is preempted … must strive to maintain the delicate

balance between the States and the Federal Government, especially when Congress

is regulating in an area traditionally occupied by the States.” R.J. Reynolds, 29

F.4th 542, 552 (9th Cir. 2022) (citation omitted).

      In ascertaining what Congress intended, considering implications for the

federal-State balance is necessary because “the existence and force and function of

established institutions of local government are always in the consciousness of


                                          17
lawmakers.” BFP v. Resolution Trust Corp., 511 U.S. 531, 540-41 (1994) (citation

omitted). Thus, in Gonzales, the Court relied on “commonsense” to conclude that

“the background principles of our federal system … belie[d] the notion that

Congress would use … an obscure grant of authority to regulate areas traditionally

supervised by the States’ police power.” 546 U.S. at 274.

      Proper, common-sense consideration of these implications makes clear what

Congress intended for Section 6297(c)—and what it could not plausibly have.

Congress does not casually divest States’ and municipalities’ authority to regulate

land uses and building safety, projecting federal law into areas at the margin of the

Commerce Clause power—and would never do that through an unheralded

provision in an energy conservation statute that does not purport to create

substitute federal regulatory regimes for fire safety, health, or indoor air quality.

Indeed, post-Franklin cases teach that shifts in the federal-State balance less

seismic than this may only be sustained upon “exceedingly clear” statutory

evidence, Sackett, 2023 WL 3632751, at *23, that Congress “in fact faced and

intended” the disruptive result. Bond v. United States, 572 U.S. 844, 858 (2014)

(citation omitted). However the continuing “confusion,” Op. 34 (O’Scannlain, J.,

concurring), over Franklin’s implications for the presumption is resolved, the

prospect of construing a statute in a way that imposes seriously debilitating



                                           18
consequences on core state and local powers is always relevant and usually, as it

should have been here, dispositive.

II. The Decision Raises Questions of Immediate and Exceptional Importance

      The panel’s interpretation of EPCA causes multiple and far-reaching harms.

First, as the United States highlighted, by up-ending settled and broadly shared

understandings of the allocation of regulatory responsibility, it threatens the

functioning of this important federal statute. Vastly expanding the universe of

measures subject to preemption inevitably strains the waiver mechanism. See U.S.

Amicus Br. 26. Assuming DOE has authority to grant waivers for health or safety

measures that do not claim energy savings, but see pp. 11-12, supra, EPCA

provides no template for analyzing such questions, which are outside the

Department’s ordinary ken. And the decision’s regime threatens EPCA’s core

standard-setting provision too. If federal energy efficiency regulation preempts so

indiscriminately, States and localities can be expected to strenuously oppose new

federal standards.

       Second, the decision’s most severe disabling effects occur precisely where

local initiatives play a singularly central role. Laws like Berkeley’s have become

widespread, reflecting growing appreciation of indoor gas combustion’s serious

health hazards and methane’s potent climate impacts. Some 77 California cities

and counties have adopted laws requiring electrification in new construction,

                                          19
including Los Angeles, San Francisco, and Sacramento, as have municipalities

elsewhere in the Circuit and New York State, Chicago, Denver, and Washington,

D.C. 5 The building sector is the nation’s fourth-largest source of climate

pollution—trailing only transportation, electricity generation, and manufacturing—

and mitigation in this area depends particularly on effective state and local

regulation.

      Third, beyond implications specific to electrification measures, the panel’s

“simpl[e]” rule that “States and localities [may] not prevent consumers from using

covered products in their homes, kitchens, and businesses,” Op. 15, seriously

“endanger[s] a wide swath of state and local safety, health, and environmental

protections,” U.S. Amicus Br. 2. Among these are air pollution rules targeting

nitrogen oxides emissions from furnaces, boilers, and water heaters; appliance

time-of-use restrictions (which CRA conceded would be preempted, Oral Arg.

4:35–5:05); and fire code provisions prohibiting use of certain appliances in

specified kinds of dwellings, see, e.g., ICC Fire Code as adopted, e.g., by Phoenix,

Arizona 603.4 (2018) (prohibitions on (EPCA-covered) “portable unvented

heaters”). Faced with protests from amici representing all levels of government, the


      5
        See Sierra Club, California's Cities Lead the Way on Pollution-Free
Homes and Buildings, https://tinyurl.com/3hvwfsmh; Building Decarbonization
Coalition, Zero-Emitting Building Ordinances, https://buildingdecarb.org/zeb-
ordinances.

                                         20
panel did not deny that such measures too would be casualties of CRA’s new

preemptory right to “use” appliances subject to federal efficiency standards.

      Finally, the decision sacrifices core constitutional values: Our federal

structure enables policies “‘more sensitive to the diverse needs of a heterogeneous

society,’ permits ‘innovation and experimentation,’ enables greater citizen

‘involvement in democratic processes,’ and makes government ‘more responsive,”

Bond v. United States, 564 U.S. 211, 221 (2011) (quoting Gregory v. Ashcroft, 501

U.S. 452, 458 (1991)), while clarifying where accountability resides, New York v.

United States, 505 U.S. 144, 168-69 (1992). The panel decision, in contrast, denies

the Circuit’s 65 million residents basic protections and choice on matters long

understood to be for local self-determination; deprives the Nation of urgently

needed policy experimentation; and imposes these disabilities in the name of a

federal statute whose energy conservation purposes require no such displacement.




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                                CONCLUSION
      The Court should grant rehearing en banc.
                                     Respectfully submitted,



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May 31, 2023




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                       UNITED STATES COURT OF APPEALS
                            FOR THE NINTH CIRCUIT

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ADDENDUM A: PANEL OPINION
                                                           (1 of 46)
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                                FOR PUBLICATION

               UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT

         CALIFORNIA RESTAURANT                             No. 21-16278
         ASSOCIATION, a California
         nonprofit mutual benefit corporation,               D.C. No.
                                                          4:19-cv-07668-
                             Plaintiff-Appellant,              YGR

              v.
                                                             OPINION
         CITY OF BERKELEY,

                             Defendant-Appellee.

                     Appeal from the United States District Court
                        for the Northern District of California
                   Yvonne Gonzalez Rogers, District Judge, Presiding

                         Argued and Submitted May 12, 2022
                              San Francisco, California

                                 Filed April 17, 2023

             Before: Diarmuid F. O’Scannlain and Patrick J. Bumatay,
                   Circuit Judges, and M. Miller Baker, * Judge.


         *
           The Honorable M. Miller Baker, Judge for the United States Court of
         International Trade, sitting by designation.
                                                           (2 of 46)
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         2       CALIFORNIA RESTAURANT ASS’N V. CITY OF BERKELEY


                          Opinion by Judge Bumatay;
                       Concurrence by Judge O’Scannlain;
                          Concurrence by Judge Baker


                                   SUMMARY **


                            Energy Law / Preemption

             The panel reversed the district court’s dismissal of the
         California Restaurant Association’s action alleging that the
         Energy Policy and Conservation Act preempts a City of
         Berkeley regulation that prohibits the installation of natural
         gas piping within newly constructed buildings.
             The panel held that the California Restaurant
         Association, whose members include restaurateurs and
         chefs, had Article III associational standing to bring this suit
         because it demonstrated that (1) at least one of its members
         had suffered an injury in fact that was (a) concrete and
         particularized and (b) actual or imminent, rather than
         conjectural or hypothetical; (2) the injury was fairly
         traceable to the challenged action; and (3) it was likely, not
         merely speculative, that the injury would be redressed by a
         favorable decision. Specifically, the Association established
         that the ordinance would imminently harm its members
         because it alleged that its members would open or relocate a
         restaurant in Berkeley but for the city’s ban on natural gas
         piping.


         **
            This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
                                                           (3 of 46)
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             The panel held that the Energy Policy and Conservation
         Act preempts the Berkeley ordinance. The panel wrote that,
         in this express preemption case, it addressed the plain
         meaning of the Act without any presumptive thumb on the
         scale for or against preemption. The Act expressly preempts
         State and local regulations concerning the energy use of
         many natural gas appliances, including those used in
         household and restaurant kitchens. Instead of directly
         banning those appliances in new buildings, Berkeley took a
         more circuitous route to the same result and enacted a
         building code that prohibits natural gas piping into those
         buildings, rendering the gas appliances useless. The panel
         held that, by its plain text and structure, the Act’s preemption
         provision encompasses building codes that regulate natural
         gas use by covered products. By preventing such appliances
         from using natural gas, the Berkeley building code did
         exactly that. The panel reversed and remanded for further
         proceedings.
             Concurring, Judge O’Scannlain wrote that he agreed that
         the Energy Policy and Conservation Act preempts the
         Berkeley ordinance, but he only reached that conclusion
         because, under Ninth Circuit precedent, he was bound to
         hold that the presumption against preemption does not apply
         to the express-preemption provision at issue. Judge
         O’Scannlain wrote, however, that the law regarding the
         presumption against preemption in express-preemption
         cases is troubling and confused—beset by tensions in
         Supreme Court precedents, disagreement among the circuits,
         and important practical questions still unanswered.
             Concurring, Judge Baker stated that he wrote separately
         to express his reservations about the Association’s standing
         and to explain his understanding of why the City of
         Berkeley’s ordinance invades the core area preempted by the
                                                           (4 of 46)
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         4      CALIFORNIA RESTAURANT ASS’N V. CITY OF BERKELEY


         Energy Policy and Conservation Act. Judge Baker wrote
         that, at the pleading stage, an organization need not identify
         any specific injured member in order to establish
         associational standing, but it must do so at summary
         judgment or trial. As to preemption, Judge Baker wrote that
         the Berkeley ordinance cut to the heart of what Congress
         sought to prevent—state and local manipulation of building
         codes for new construction to regulate the natural gas
         consumption of covered products when gas service is
         otherwise available to the premises where such products are
         used. Judge Baker therefore joined the panel opinion in full.



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               CALIFORNIA RESTAURANT ASS’N V. CITY OF BERKELEY    5


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                                                           (6 of 46)
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         6     CALIFORNIA RESTAURANT ASS’N V. CITY OF BERKELEY


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                                                           (7 of 46)
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                CALIFORNIA RESTAURANT ASS’N V. CITY OF BERKELEY      7


                                  OPINION

         BUMATAY, Circuit Judge:

             By completely prohibiting the installation of natural gas
         piping within newly constructed buildings, the City of
         Berkeley has waded into a domain preempted by Congress.
         The Energy Policy and Conservation Act (“EPCA”), 42
         U.S.C. § 6297(c), expressly preempts State and local
         regulations concerning the energy use of many natural gas
         appliances, including those used in household and restaurant
         kitchens. Instead of directly banning those appliances in
         new buildings, Berkeley took a more circuitous route to the
         same result. It enacted a building code that prohibits natural
         gas piping into those buildings, rendering the gas appliances
         useless.
             The California Restaurant Association, whose members
         include restaurateurs and chefs, challenged Berkeley’s
         regulation, raising an EPCA preemption claim. The district
         court dismissed the suit. In doing so, it limited the Act’s
         preemptive scope to ordinances that facially or directly
         regulate covered appliances. But such limits do not appear
         in EPCA’s text. By its plain text and structure, EPCA’s
         preemption provision encompasses building codes that
         regulate natural gas use by covered products. And by
         preventing such appliances from using natural gas, the new
         Berkeley building code does exactly that.
             We thus conclude that EPCA preempts Berkeley’s
         building code’s effect against covered products and reverse.
                                       I.
            In July 2019, the Council of the City of Berkeley,
         California, adopted Ordinance No. 7,672-N.S.—
                                                           (8 of 46)
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         8      CALIFORNIA RESTAURANT ASS’N V. CITY OF BERKELEY


         “Prohibition of Natural Gas Infrastructure in New
         Buildings” (“Ordinance”). As its name implies, the
         Ordinance prohibits, with some exceptions, “Natural Gas
         Infrastructure” in “Newly Constructed Buildings” in the City
         of Berkeley.          Berkeley Mun. Code (“BMC”)
         § 12.80.040(A). “Natural Gas Infrastructure” is defined as
         “fuel gas piping, other than service pipe, in or in connection
         with a building, structure or within the property lines of
         premises, extending from the point of delivery at the gas
         meter as specified in the California Mechanical Code and
         Plumbing Code.” Id. § 12.80.030(E). And “Newly
         Constructed Building” refers to “a building that has never
         before been used or occupied for any purpose.” Id. §
         12.80.030(F). These building codes “apply to Use Permit or
         Zoning Certificate applications” submitted after the
         Ordinance’s January 1, 2020, effective date.                Id.
         §§ 12.80.020(A), 12.80.080.
             The Ordinance seeks to “eliminate obsolete natural gas
         infrastructure and associated greenhouse gas emissions in
         new buildings where all-electric infrastructure can be most
         practicably integrated, thereby reducing the environmental
         and health hazards produced by the consumption and
         transportation of natural gas.” Id. § 12.80.010(H). By its
         own terms, the Ordinance “shall in no way be construed . . .
         as requiring the use or installation of any specific appliance
         or system as a condition of approval.” Id. § 12.80.020(C).
         The Ordinance also exempts a new construction from its
         prohibition if it is in the “public interest” or if it is “not
         physically feasible.” Id. §§ 12.80.040(A), 12.80.050.
            In November 2019, the Association sued the City of
         Berkeley, claiming that EPCA and state law preempted the
         Ordinance. After the City moved to dismiss under Federal
         Rule of Civil Procedure 12(b)(6), the district court dismissed
                                                           (9 of 46)
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         the EPCA claim. It concluded that EPCA must be
         “interpreted in a limited manner,” so that the Act doesn’t
         “sweep into areas that are historically the province of state
         and local regulation.” Cal. Rest. Ass’n v. City of Berkeley,
         547 F. Supp. 3d 878, 891 (N.D. Cal. 2021). Because the
         Ordinance does “not facially regulate or mandate any
         particular type of product or appliance” and because its
         impact is “at best indirect[]” on consumer products, the
         district court ruled that EPCA does not preempt the
         Ordinance. Id. It then declined to exercise supplemental
         jurisdiction and dismissed the state-law claims. Id.
            The Association timely appealed, and we review de
         novo. Air Conditioning & Refrigeration Inst. v. Energy Res.
         Conservation & Dev. Comm’n, 410 F.3d 492, 495 (9th Cir.
         2005).
                                       II.
             Before jumping to the merits of this case, we must first
         assure ourselves of the Association’s Article III standing. To
         satisfy associational standing requirements, an organization
         must demonstrate that (1) at least one of its members has
         suffered an injury in fact that is (a) concrete and
         particularized and (b) actual or imminent, rather than
         conjectural or hypothetical; (2) the injury is fairly traceable
         to the challenged action; and (3) it is likely, not merely
         speculative, that the injury will be redressed by a favorable
         decision. Nat. Res. Def. Council v. EPA, 735 F.3d 873, 878
         (9th Cir. 2013). Berkeley contends that the Association
         lacks standing because it failed to establish that the
         Ordinance would imminently harm its members. We
         disagree.
             When “standing is challenged on the basis of the
         pleadings,” we must “accept as true all material allegations
                                                          (10 of 46)
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         of the complaint” and “construe the complaint in favor of the
         complaining party.” Pennell v. City of San Jose, 485 U.S. 1,
         7 (1988) (simplified). At this stage, “general factual
         allegations of injury resulting from the defendant’s conduct
         may suffice, for on a motion to dismiss we presume that
         general allegations embrace those specific facts that are
         necessary to support the claim.” Lujan v. Defs. of Wildlife,
         504 U.S. 555, 561 (1992) (simplified).
             In its complaint, the Association explains that restaurants
         rely on natural gas for preparing certain foods and that many
         chefs are trained only on natural gas stoves. The
         Association’s members include restaurateurs and chefs who
         do business or seek to do business in Berkeley. And the
         Association alleges that one or more of its members would
         like to open or relocate a restaurant in a new Berkeley
         building completed after the Ordinance became effective on
         January 1, 2020. But those members could not do so because
         of the Ordinance’s ban on natural gas. The City contends
         these allegations don’t establish standing because they don’t
         allege “how soon” in the future an Association member
         would open or relocate a restaurant.
             To establish “actual or imminent” injury, the Association
         must show a “credible threat that a probabilistic harm will
         materialize.” Id. (simplified). The goal of this requirement
         is “to ensure that the concept of ‘actual or imminent’ harm
         is not stretched beyond its purpose, which is to ensure that
         the alleged injury is not too speculative for Article III
         purposes.” Id. (simplified). In Natural Resources Defense
         Council, we held that it was enough that the government’s
         action “increases the threat of future harm to [the
         organization’s] members.” Id. In that case, the imminence
         prong was satisfied when the Environmental Protection
         Agency’s conditional registration of two pesticides would
                                                          (11 of 46)
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                CALIFORNIA RESTAURANT ASS’N V. CITY OF BERKELEY      11


         “increase[] the odds of exposure” for the organization’s
         members’ children. Id.
             Given our precedent, the Association has easily
         established standing. The Association has alleged that its
         members would open or relocate a restaurant in a new
         building in Berkeley but for the City’s ban on natural gas.
         Thus, because of the Ordinance, the Association’s members
         cannot open a restaurant in any new Berkeley building and
         use natural gas appliances. That poses a “credible threat” of
         a “probabilistic harm,” even if the Association hasn’t
         provided a date certain for any restaurant’s opening night.
            We now turn to the merits of this challenge.
                                      III.
             At issue here is the scope of EPCA’s preemption clause.
         Berkeley argues that EPCA preemption only covers
         regulations that impose standards on the design and
         manufacture of appliances, not regulations that impact the
         distribution and availability of energy sources like natural
         gas. The federal government, as amicus, offers a slightly
         different take. It contends that EPCA only preempts “energy
         conservation standards” that operate directly on the covered
         products themselves. The Association disagrees with both.
         It believes that EPCA preemption extends to regulations that
         effectively ban covered products from using available
         energy sources.
             As with any express preemption case, our focus is on the
         plain meaning of EPCA. See Puerto Rico v. Franklin Cal.
         Tax-Free Tr., 579 U.S. 115, 125 (2016). That’s because “the
         plain wording of the clause . . . necessarily contains the best
         evidence of Congress’ pre-emptive intent.” Id. In
         discerning its meaning, we look to EPCA’s text, structure,
                                                          (12 of 46)
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         12      CALIFORNIA RESTAURANT ASS’N V. CITY OF BERKELEY


         and context. See R.J. Reynolds Tobacco Co. v. County of
         Los Angeles, 29 F.4th 542, 552 (9th Cir. 2022). And we
         apply this textual analysis “without any presumptive thumb
         on the scale” for or against preemption. Id. at 553 n.6.
             Based on its text, structure, and context, we conclude
         EPCA preempts Berkeley’s Ordinance banning natural gas
         piping within new buildings.
                                             A.
             EPCA’s preemption clause establishes that, once a
         federal energy conservation standard becomes effective for
         a covered product, “no State regulation concerning the
         energy efficiency, energy use, or water use of such covered
         product shall be effective with respect to such product,”
         unless the regulation meets one of several categories not
         relevant here. 42 U.S.C. § 6297(c). For our purposes, we
         need to determine what constitutes a “regulation concerning
         the . . . energy use” of a covered product.
             First, some definitions. EPCA defines “energy use” as
         “the quantity of energy directly consumed by a consumer
         product at point of use.” § 6291(4). 1 “[E]nergy” refers to
         “electricity” or “fossil fuels,” such as natural gas. § 6291(3).
         A “consumer product” is “any article” which “consumes, or
         is designed to consume,” energy or water and is distributed
         for personal use. § 6291(1). The preemption clause applies
         to any “covered product,” which is defined as certain
         “consumer products,” like refrigerators, dishwashers, and




         1
           Unless otherwise indicated, all section (§) citations refer to Title 42 of
         the U.S. Code.
                                                          (13 of 46)
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                CALIFORNIA RESTAURANT ASS’N V. CITY OF BERKELEY            13


         kitchen ovens. §§ 6291(2), 6292. 2 And as a matter of
         ordinary meaning, “point of use” means the “place where
         something is used.” Oxford English Dictionary Online
         (2022).
             So putting these terms together, EPCA preempts
         regulations that relate to “the quantity of [natural gas]
         directly consumed by” certain consumer appliances at the
         place where those products are used. Right off the bat, we
         know that EPCA is concerned with the end-user’s ability to
         use installed covered products at their intended final
         destinations. After all, a regulation that prohibits consumers
         from using appliances necessarily impacts the “quantity of
         energy directly consumed by [the appliances] at point of
         use.” So, by its plain language, EPCA preempts Berkeley’s
         regulation here because it prohibits the installation of
         necessary natural gas infrastructure on premises where
         covered natural gas appliances are used.
              Berkeley’s main contention is that its Ordinance doesn’t
         regulate “energy use” because it bans natural gas rather than
         prescribes an affirmative “quantity of energy.” While
         Berkeley concedes that a prohibition on natural gas
         infrastructure reduces the energy consumed by natural gas
         appliances in new buildings to “zero,” it argues that “zero”
         is not a “quantity” and so the Ordinance is not an “energy
         use” regulation. But that defies the ordinary meaning of
         “quantity.” In context, “quantity” means “a property or
         attribute that can be expressed in numerical terms.” Oxford



         2
           The preemption clause also applies to “industrial equipment,” which
         includes commercial equipment that may be used in restaurants. See
         §§ 6311(1), 6316(a).
                                                          (14 of 46)
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         English Dictionary Online (2022). And it is well accepted
         in ordinary usage that “zero” is a “quantity.” 3
             Equally unavailing is Berkeley’s argument that EPCA’s
         definition of “energy efficiency” precludes a total
         prohibition on natural gas piping from being an “energy use”
         regulation. EPCA defines “energy efficiency” as the “ratio
         of useful output of services . . . to the energy use” of the
         product. § 6291(5). According to Berkeley, “zero” cannot
         serve as the “quantity of energy” in “energy use;” otherwise,
         the “energy efficiency” ratio would have an impermissible
         “zero” denominator. But in that case, both the denominator
         (“energy use”) and the numerator (“output”) would be
         zero—which simply yields an indeterminate result. 4 And


         3
           See, e.g., SolarWorld Ams., Inc. v. United States, 962 F.3d 1351, 1359
         (Fed. Cir. 2020) (import data recorded “a quantity of zero”); United
         States v. Everett, 601 F.3d 484, 493 (6th Cir. 2010) (referring to “zero”
         as an “arbitrary quantity of time”); see also 85 Fed. Reg. 22,641
         (discussing “a quantity of zero blocks” in an auction context). Even
         children, bees, and crows apparently understand that “zero” is a
         numerical quantity. See Bialystok E. & Codd J., Representing quantity
         beyond whole numbers: some, none, and part, 54 Can. J. Experimental
         Psych. 117–28 (2000) (showing children aged three to seven could work
         with “quantities” including “whole numbers” and “zeros”); see also
         Katie Spalding, Crows Once Again Prove Their Intelligence By Showing
         That They Understand Zero, IFL Science (June 17, 2021) (citing
         evidence that honeybees and crows can “understand zero as a numerical
         quantity—as ‘something’ rather than ‘nothing.’”). Same goes for the
         scientific community. See, e.g., A.S. Kompaneyets, Theoretical Physics
         377 (2d ed. 2013) (“[T]he shift of an energy level is equal to the average
         of the perturbation energy for unperturbed motion . . . . But it is easy to
         see that the average of this quantity is equal to zero.”).
         4
          In math, an “indeterminate” expression is “unknown or variable,” “not
         definitively or precisely determined.”         See Eric Weisstein,
         Indeterminate, WOLFRAM MATHWORLD, https://perma.cc/2PD6-5ZZK.
                                                          (15 of 46)
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         we doubt that Congress meant to hide an exemption to the
         plain text of EPCA’s preemption clause in a mathematical
         equation.
             Thus, a regulation that imposes a total ban on natural gas
         is not exempt from EPCA just because it lowers the
         “quantity of energy” consumed to “zero.” In other words, a
         regulation on “energy use” fairly encompasses an ordinance
         that effectively eliminates the “use” of an energy source. As
         the Court said long ago, a regulation may “assume the form
         of [a] prohibition.” Champion v. Ames, 188 U.S. 321, 328
         (1903).
               And as a textual matter, EPCA preemption is not limited
         to facial regulations of consumer products as the district
         court held. Although the district court recognized EPCA’s
         “broad” reach, it limited preemption to regulations that
         “directly regulate either the energy use or energy efficiency
         of covered appliances.” Cal. Rest. Ass’n, 547 F. Supp. 3d at
         891. It thus cabined preemption to regulations that “facially
         . . . mandate or require a[] particular energy use of a covered
         product.” Id. Such a reading is divorced from the statute’s
         text. It first ignores that “energy use” is based on
         consumption that happens “at point of use.” § 6291(4). This
         means that we measure energy use not from where the
         products roll off the factory floor, but from where consumers
         use the products. Put simply, by enacting EPCA, Congress
         ensured that States and localities could not prevent
         consumers from using covered products in their homes,
         kitchens, and businesses. So EPCA preemption extends to
         regulations that address the products themselves and the on-
         site infrastructure for their use of natural gas.
            To erase any doubt, rather than limit preemption to facial
         regulations of products, Congress expressly expanded
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         EPCA’s reach to regulations that “concern[]” such products.
         § 6297(c).      The Supreme Court has explained that
         “‘[c]oncerning’ means ‘relating to,’ and is the equivalent of
         ‘regarding, respecting, about.’” Lamar, Archer & Cofrin,
         LLP v. Appling, 138 S. Ct. 1752, 1759 (2018) (simplified).
         In the legal context, this has “a broadening effect, ensuring
         that the scope of a provision covers not only its subject but
         also matters relating to that subject.” Id. at 1760. We thus
         read the term “expansively” and, as a matter of ordinary
         meaning, a regulation may “concern” something without
         directly regulating that thing. Cf. Morales v. Trans World
         Airlines, Inc., 504 U.S. 374, 378–90 (1992) (holding that the
         Airline Deregulation Act, which prohibits States from
         enforcing any law “relating to rates, routes, or services” of
         any air carrier, preempted fare-advertising guidelines that
         “would have a significant impact upon” the airlines’ ability
         to charge fares). At a minimum then, by using the term
         “concerning,” Congress meant to expand preemption
         beyond direct or facial regulations of covered appliances.
         And a regulation that bans the delivery of natural gas to
         products that operate on natural gas “concerns” the energy
         use of those products.
             And we know that EPCA preemption reaches building
         codes. Indeed, a whole subsection of EPCA’s preemption
         provision is devoted to “building code requirements.”
         § 6297(f). By its own terms, “a regulation . . . that is
         contained in a State or local building code for new
         construction concerning the energy efficiency or energy use
         of a covered product is not superseded” by EPCA until a
         certain effective date or if the code complies with seven
         requirements. § 6297(f)(1)–(3) (emphasis added). So
         subsection (f) demonstrates that EPCA’s preemptive scope
         extends beyond direct or facial regulations of consumer
                                                          (17 of 46)
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         products. Otherwise, there would be no need to set an
         effective date or create a special carve-out for building
         codes, which do not fall into the category of direct
         regulations on products. Congress thus indicated that EPCA
         preempts building codes, like Berkeley’s ordinance, that
         function as “energy use” regulations. Put differently, EPCA
         does not permit States and localities to dodge preemption by
         hiding “energy use” regulations in building codes.
             EPCA’s waiver provision likewise shows the extensive
         scope of the preemption clause. EPCA permits the federal
         government to waive preemption if a State shows that a
         proposed regulation is needed to meet “unusual and
         compelling State or local energy[] interests.”
         § 6297(d)(1)(B)–(C). But it stops the federal government
         from waiving preemption if the “State regulation will
         significantly burden manufacturing, marketing, distribution,
         sale, or servicing of the covered product on a national basis.”
         § 6297(d)(3). So the federal government must consider the
         complete lifecycle of an appliance—from manufacturing to
         servicing—in reviewing a waiver petition. Such a provision
         would make little sense if the scope of EPCA’s preemption
         ends with the design or manufacture of the product. A
         burden on “servicing,” for example, may implicate
         regulation of the installation and use of the product—like
         Berkeley’s building code. And no doubt Berkeley’s ban, if
         adopted by States and localities throughout the country,
         would “significantly burden” the “sale” of covered products
         “on a national basis.” Id.
                                       B.
            The Government offers slightly different textual
         arguments. It contends that EPCA only preempts “energy
         conservation standards” that operate directly on covered
                                                          (18 of 46)
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         products themselves. To justify its position, the Government
         first latches onto EPCA’s language stating that a state
         regulation concerning the energy use of a covered product is
         not “effective with respect to such product.” § 6297(c). The
         Government contends that this language limits EPCA’s
         preemptive scope to only direct regulations on covered
         products. 5
             But the Government’s textual analysis is wrong. The
         phrase the Government highlights simply limits EPCA’s
         preemption to a regulation’s effect on covered products—it
         doesn’t say that the regulation must be on the covered
         products. To illustrate, think of EPCA’s preemption clause
         as a conditional sentence: If a “regulation concern[s] . . .
         [the] energy use . . . of [a] covered product,” then it is
         preempted “with respect to such product.” The latter clause
         doesn’t modify the meaning of the former.



         5
           We note that the Government’s position hasn’t always been that EPCA
         preempts only direct regulations on covered products. When interpreting
         the 1978 version of EPCA, the Government concluded that the Act
         would preempt regulations of energy infrastructure, like building codes.
         The Government warned that “[s]tandards subject to preemption would
         include standards for any particular type (or class) of covered products
         established by mandatory State or local building codes.” 47 Fed. Reg.
         57,198, 57,215 (Dec. 22, 1982) (emphasis added). Even more to the
         point, the Government advised that a “[p]rohibition of hook-ups for
         appliances with less than a certain efficiency would be subject to
         preemption.” Id. So back in 1982, the Government acknowledged that
         EPCA would supersede building codes dealing with energy requirements
         for “hook-ups for appliances.” And the Government maintained this
         position when EPCA’s preemption provision was narrower than today.
         See § 6297(a)(2) (1978) (superseding any state regulation that provides
         for “any energy efficiency standards or other requirement with respect to
         energy efficiency or energy use of a covered product”).
                                                          (19 of 46)
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             To put it more concretely: Say a State enacts a broad
         regulation on all appliances—some that are “covered” and
         some that are not. EPCA would only supersede the
         regulation’s impact on the covered products. And the State
         could still enforce its regulation against the non-covered
         products. In other words, if a building code concerns the
         “energy use” of covered and non-covered products alike,
         EPCA’s preemptive effect is limited to the covered products.
         Here, Berkeley may enforce its building code on non-
         covered products, but EPCA displaces its effect on covered
         products. 6 But this language in no way narrows a
         “regulation concerning the . . . energy use” to direct
         regulations on covered products themselves.
             The Government next argues that EPCA preemption
         only acts on regulations that are the equivalent of “energy
         conservation standards.” For this, the Government relies on
         the title of EPCA’s preemption provision. Section 6297(c)
         is entitled, “General rule of preemption for energy
         conservation standards when Federal standard becomes
         effective for product.”      Based on this heading, the
         Government contends that “regulation[s] concerning energy
         efficiency [or] energy use” in EPCA’s operative preemption
         clause should be construed to mean only state regulations
         that function as “energy conservation standards.” But there
         are three problems with this argument.
            First, § 6297(c)’s heading cannot supersede its plain text.
         While the “title of a statute” may help clarify an ambiguous
         word or phrase, it “cannot limit the plain meaning of the


         6
           We thus disagree with the Association’s assertion that EPCA preempts
         the Ordinance “as a whole.” Rather, when it comes to the Ordinance’s
         effect on non-covered products, EPCA has no impact.
                                                          (20 of 46)
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         text.” Pa. Dep’t of Corr. v. Yeskey, 524 U.S. 206, 212 (1998)
         (simplified). The Government hasn’t identified enough
         ambiguity in the preemption clause for the subsection’s title
         to provide much interpretive guidance.
             Second, Congress gave “energy use,” “energy
         efficiency,” and “energy conservation standards” related,
         but different, meanings. Recall that “energy use” is defined
         as “the quantity of energy directly consumed by a consumer
         product at point of use.” § 6291(4). At the same time, EPCA
         defines “energy efficiency” as the “ratio of the useful output
         of services from a consumer product to the energy use of
         such product.” § 6291(5). And finally, an “energy
         conservation standard” is generally “a performance standard
         which prescribes a minimum level of energy efficiency or a
         maximum quantity of energy use.” § 6291(6)(A). So for
         EPCA purposes, these terms are closely related, but not
         identical.
             And third, elsewhere EPCA uses both phrases
         together—which shows that they aren’t simply
         interchangeable. For example, EPCA allows the federal
         government to waive preemption for a regulation “which
         provides for any energy conservation standard or other
         requirement with respect to energy use, energy efficiency, or
         water use.” § 6297(d)(1)(A). If “energy use” means “energy
         conservation standards” as the Government argues, this
         provision would create redundancy in the statutory text.
         Rather, by placing them in a list like this, Congress intended
         the phrases to be related, but distinct, concepts.
             EPCA’s operative preemptive text is thus not limited to
         “energy conservation standards” as the Government would
         like us to hold. While EPCA’s preemptive effect is triggered
         by federal enactment of an energy “performance standard”
                                                          (21 of 46)
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         on a covered product, the statute then broadly preempts any
         state regulation concerning “energy use” and “energy
         efficiency” of the covered product. §§ 6291(6)(A), 6297(c).
         At bottom, the Government argues that we should supplant
         “energy use” and “energy efficiency” and replace those
         terms with “energy conservation standards.” But we
         presume that Congress means what it says, and we can’t
         simply reconfigure the statute to fit the Government’s needs.
         Indeed, after Congress has taken pains to define each phrase
         separately, it would be inappropriate for courts to disregard
         these nuances and treat the phrases as interchangeable.
                                      C.
            We next address Berkeley’s non-textual arguments.
             Berkeley first argues that finding preemption here would
         impliedly repeal the Natural Gas Act, 15 U.S.C. § 717 et seq.
         We disagree.        The Natural Gas Act “create[s] a
         comprehensive and effective regulatory scheme of dual state
         and federal authority” over the wholesale of natural gas. S.
         Coast Air Quality Mgmt. Dist. v. FERC, 621 F.3d 1085, 1090
         (9th Cir. 2010). It does so by granting the Federal Energy
         Regulatory Commission (“FERC”) “exclusive jurisdiction”
         over three areas: the “transportation of natural gas in
         interstate commerce,” the “sale in interstate commerce of
         natural gas for resale,” and “natural-gas companies engaged
         in such transportation or sale.” Id. (quoting 15 U.S.C. §
         717(b)). But the Natural Gas Act “specifically exempted
         from” FERC regulation “the ‘local distribution of natural
         gas.’” Id. (quoting 15 U.S.C. § 717(b)).
             By its terms then, the Natural Gas Act only prevents
         FERC from regulating the local distribution of gas. So as a
         textual matter, the Natural Gas Act’s restriction on FERC
         authority doesn’t conflict with Congress, through EPCA,
                                                          (22 of 46)
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         deciding to supplant building codes that prevent the
         operation of natural gas appliances. Thus, there’s nothing
         irreconcilable about the scope of EPCA’s preemption
         provision and the Natural Gas Act. We see no implied repeal
         problem.
             Berkeley finally contends that preemption here would
         mean that the City must affirmatively make natural gas
         available everywhere. That does not follow from our
         decision today. We only hold that EPCA prevents Berkeley
         from banning new-building owners from “extending” fuel
         gas piping within their buildings “from the point of delivery
         at the gas meter.” See BMC § 12.80.030(E). Our holding
         doesn’t touch on whether the City has any obligation to
         maintain or expand the availability of a utility’s delivery of
         gas to meters.
                                      D.
             Berkeley and the Government ask us to make
         interpretive moves similar to those that the Supreme Court
         rejected in Engine Manufacturers Association v. South
         Coast Air Quality Management District, 541 U.S. 246, 252
         (2004). In that case, our court had interpreted the Clean Air
         Act, which prohibits States from enforcing any standard
         “relating to the control of emissions from new motor
         vehicles,” as not preempting a local ordinance that prevented
         fleet operators from purchasing or leasing vehicles that did
         not comply with the local emissions standards. Id. at 252.
         In short, our court “engraft[ed]” a “limiting component”
         onto the statute which narrowed the Clean Air Act’s
         preemptive reach to standards on manufacturers, rather than
         purchasers. Id. at 253. But the Supreme Court rejected our
         approach and emphasized that “[t]he manufacturer’s right to
                                                          (23 of 46)
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         sell federally approved vehicles is meaningless in the
         absence of a purchaser’s right to buy them.” Id. at 255.
              Other Supreme Court cases teach the same lesson. See
         Nat’l Meat Ass’n v. Harris, 565 U.S. 452, 458 (2012)
         (holding that the Federal Meat Inspection Act, which
         prohibits States from imposing requirements “with respect
         to [livestock] premises, facilities and operations,” preempted
         a California regulation that placed additional requirements
         on the sale of meat); Am. Trucking Ass’ns v. City of Los
         Angeles, 569 U.S. 641, 652 (2013) (criticizing State efforts
         to “avoid preemption by shifting their regulatory focus” to
         different companies within the same supply chain because it
         did not “make[] any difference” that the State chose “an
         indirect but wholly effective means” of achieving a
         preempted goal); Rowe v. New Hampshire Motor Transp.
         Ass’n, 552 U.S. 364, 372 (2008) (finding state law that was
         “less direct than it might be” nevertheless preempted
         because it “produce[d] the very effect that the federal law
         sought to avoid”).
             As these cases make clear, States and localities can’t
         skirt the text of broad preemption provisions by doing
         indirectly what Congress says they can’t do directly. EPCA
         would no doubt preempt an ordinance that directly prohibits
         the use of covered natural gas appliances in new buildings.
         So Berkeley can’t evade preemption by merely moving up
         one step in the energy chain and banning natural gas piping
         within those buildings. Otherwise, the ability to use covered
         products is “meaningless” if consumers can’t access the
         natural gas available to them within the City of Berkeley.
         See Engine Mfrs. Ass’n, 541 U.S. at 255.
                                                          (24 of 46)
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                                     IV.
             In sum, Berkeley can’t bypass preemption by banning
         natural gas piping within buildings rather than banning
         natural gas products themselves. EPCA thus preempts the
         Ordinance’s effect on covered products. We therefore
         reverse and remand for proceedings consistent with this
         opinion. On remand, the district court must reinstate the
         Association’s state-law claims.


         O’SCANNLAIN, Circuit Judge, concurring:

             I agree that EPCA preempts the Ordinance. But I only
         reach that conclusion because, under Ninth Circuit
         precedent, I believe I am bound to hold that the presumption
         against preemption does not apply to the express-preemption
         provision before us today. That conclusion is not obvious or
         easy. In my view, this issue presents a challenging question
         in a deeply troubled area of law—namely, which of the
         apparently conflicting lines of cases we should follow in
         applying the presumption against preemption in express-
         preemption cases.
             At first glance, one might have thought this issue was
         already resolved by our decision in Air Conditioning &
         Refrigeration Inst. v. Energy Res. Conservation & Dev.
         Comm’n, 410 F.3d 492 (9th Cir. 2005). There, like here, we
         were called upon to assess a set of express-preemption
         provisions in EPCA. Id. at 495 (interpreting 42 U.S.C. §§
         6297(a), 6316(a)-(b)).     We followed Supreme Court
         precedent and applied the Supreme-Court-mandated
         “presumption against preemption” to interpret the EPCA
         preemption provisions “narrow[ly].” Id. at 496 (applying
         Medtronic, Inc. v. Lohr, 518 U.S. 470, 485 (1996)). Our
                                                          (25 of 46)
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         decision in Air Conditioning was no outlier. The Supreme
         Court consistently instructed us to apply the presumption in
         express-preemption cases, at least in areas of traditional state
         concern—and we consistently followed these instructions.
         Sprint Telephony PCS, L.P. v. Cnty. of San Diego, 543 F.3d
         571, 578 (9th Cir. 2008) (en banc) (confirming Air
         Conditioning’s approach).
             But things are, unfortunately, not so simple today. In its
         recent Franklin decision, the Supreme Court stated that
         “because the statute contains an express pre-emption clause,
         we do not invoke any presumption against preemption.”
         Puerto Rico v. Franklin California Tax-Free Tr., 579 U.S.
         115, 125 (2016) (cleaned up). The Court did not mention—
         much less expressly overrule—the decades of cases where
         the presumption had indeed been applied in like
         circumstances. And the Court did not, respectfully, provide
         much discussion of its decision not to apply the presumption.
         Instead, after the Court stated it would “not invoke” the
         presumption, it explained that it would “focus on the plain
         wording of the clause,” which is “where the inquiry should
         end, for the statute’s language is plain.” Id. (cleaned up).
             What to make of Franklin’s “drive-by ruling” is
         challenging. Whitman v. United States, 574 U.S. 1003
         (2014) (Scalia, J., statement respecting denial of certiorari).
         We do not assume that the Court has overruled its older
         precedents “by implication.” Agostini v. Felton, 521 U.S.
         203, 237 (1997). And we do not easily assume that the Court
         has abrogated our circuit precedents unless the decisions are
         “clearly irreconcilable,” particularly where the Supreme
         Court decisions we relied on remain on the books. Miller v.
         Gammie, 335 F.3d 889, 900 (9th Cir. 2003). Nevertheless,
         our circuit—without hesitating to consider Franklin’s limits
         or the possibility of reconciling Franklin with existing
                                                          (26 of 46)
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         precedent—has broadly read Franklin categorically to
         prohibit applying the presumption to express-preemption
         provisions in future cases. See, e.g., R.J. Reynolds Tobacco
         Co. v. Cnty. of Los Angeles, 29 F.4th 542, 553 n.6 (9th Cir.
         2022).      Under these post-Franklin decisions, Air
         Conditioning no longer seems to govern here—and the
         presumption does not apply.
             Respectfully, I have my doubts. As an inferior-court
         judge—bound to respect Supreme Court and Ninth Circuit
         precedent—I have great difficulty in deciding how to read
         the Supreme Court’s instructions here. See, e.g., Air Evac
         EMS, Inc. v. Cheatham, 910 F.3d 751, 762 n.1 (4th Cir.
         2018) (Wilkinson, J.) (noting the Supreme Court’s
         “somewhat varying pronouncements on presumptions in
         express preemption cases”). And I am not alone—circuits
         are split on this issue. Dialysis Newco, Inc. v. Cmty. Health
         Sys. Grp. Health Plan, 938 F.3d 246, 258 (5th Cir. 2019)
         (collecting circuit split). While I ultimately conclude that,
         under this court’s cases, the presumption does not apply
         here, the law remains troubling and confused—beset by
         tensions in Supreme Court precedents, disagreement among
         the circuits, and important practical questions still
         unanswered. I write separately to indicate the need for
         further guidance.
                                        I
                                        A
             The application of the presumption against preemption
         to express-preemption provisions has always raised hard
         questions. But at least after the Supreme Court’s decision in
         Cipollone, the rule was clear: the presumption applies even
         to express-preemption provisions, at least in areas of
         traditional state concern. See, e.g., Cipollone v. Liggett Grp.,
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         Inc., 505 U.S. 504, 518 (1992); Medtronic, 518 U.S. at 485.
         Under this framework, we were instructed to interpret
         express-preemption provisions “narrow[ly]” in light of “two
         presumptions about the nature of preemption.” Medtronic,
         518 U.S. at 485. First, “the historic police powers of the
         States were not to be superseded by the Federal Act unless
         that was the clear and manifest purpose of Congress.” Id.
         (cleaned up). Second, “any understanding of the scope of a
         preemption statute must rest primarily on a fair
         understanding of congressional purpose,” which is
         “primarily” discerned from statutory text but also informed
         by “the structure and purpose of the statute as a whole.” Id.
         (cleaned up).
              This approach, to be sure, invited criticism early on. See,
         e.g., Cipollone, 505 U.S. at 544–48 (Scalia, J., concurring
         and dissenting in part) (explaining that “our job is to interpret
         Congress’s decrees of pre-emption neither narrowly nor
         broadly, but in accordance with their apparent meaning”);
         Caleb Nelson, Preemption, 86 Va. L. Rev. 225, 291 n.205,
         292–303 (2000) (arguing that “courts should not give
         artificially crabbed constructions to preemption clauses”).
         Despite these objections, the Supreme Court continued to
         apply the presumption to express-preemption provisions
         over the years. See, e.g., Cipollone, 505 U.S. at 518; N.Y.
         State Conference of Blue Cross & Blue Shield Plans v.
         Travelers Ins. Co., 514 U.S. 645, 654 (1995); Medtronic,
         518 U.S. at 485; De Buono v. NYSA-ILA Med. & Clinical
         Servs. Fund, 520 U.S. 806, 814 (1997); Bates v. Dow
         Agrosciences, LLC, 544 U.S. 431, 449 (2005); CTS Corp. v.
         Waldburger, 573 U.S. 1, 18–19 (2014); but see Mutual
         Pharm. Co. v. Bartlett, 570 U.S. 472 (2013) (applying
         preemption but declining to mention the presumption against
         preemption). And the inferior courts—duty-bound to follow
                                                          (28 of 46)
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         the Supreme Court—continued to apply the presumption as
         well. See, e.g., Air Conditioning, 410 F.3d at 496; see also,
         e.g., Mass. Ass’n of Health Maint. Orgs. v. Ruthardt, 194
         F.3d 176, 179 (1st Cir. 1999) (same); La. Health Serv. &
         Indem. Co. v. Rapides Healthcare Sys., 461 F.3d 529, 537
         (5th Cir. 2006) (same).
                                        B
             Our circuit was no exception. In Air Conditioning—a
         case remarkably on point here, at first glance—we followed
         the Cipollone-era cases in deciding to interpret a set of
         EPCA express-preemption provisions “narrowly.” 410 F.3d
         at 497, 501. We first restated the Supreme Court’s approach.
         Our interpretation of the preemption provisions was
         “informed by two presumptions about the nature of
         preemption.” Id. at 496 (citing Medtronic, 518 U.S. at 485).
         First was “the starting presumption that Congress did not
         intend to supplant state law,” at least in an area involving the
         “‘historic police powers of the States.’” Id. (quoting
         Medtronic, 518 U.S. at 485). Second was the principle that
         “‘the purpose of Congress is the ultimate touchstone in every
         pre-emption case,’” as revealed “‘not only in the text, but
         through [our] reasoned understanding of the way in which
         Congress intended the statute and its surrounding regulatory
         scheme to affect business, consumers, and the law.’” Id.
         (quoting Medtronic, 518 U.S. at 485–86). We then dutifully
         applied this approach—concluding that a narrow reading of
         the text, along with a study of the legislative history,
         revealed that the preemption provisions were owed a
         “narrow” construction. Id. at 497, 501. Because the Air
         Conditioning decision faithfully applied Supreme Court
         precedent, we confirmed its legal standard in Sprint
         Telephony, 543 F.3d at 578 (en banc).
                                                          (29 of 46)
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                                      II
             Given this backdrop, one might have thought that the
         question whether the presumption against preemption
         applies here is an easy one, already resolved by our decision
         in Air Conditioning. Because a “narrow” reading is
         available, see, e.g., City Br. at 8, one might have assumed
         that the presumption against preemption applies, and EPCA
         does not preempt the Ordinance. Such an assumption,
         though respectable, would be wrong—at least in the Ninth
         Circuit. As explained below, the law has grown more
         complicated and, might I say, confused since Air
         Conditioning was decided.            The Supreme Court’s
         instructions since Air Conditioning have not proved entirely
         consistent with its earlier decisions—and inferior courts
         remain divided over what to make of the Court’s decision in
         Franklin, which did “not invoke” the presumption but still
         declined to overrule decisions where the presumption had
         been applied in like circumstances. Franklin, 579 U.S. at
         125; see Air Evac, 910 F.3d at 762 n.1 (Wilkinson, J.). In
         our court, at least, we have taken a broad view of Franklin,
         and the presumption against preemption no longer seems to
         apply to express-preemption provisions. See Reynolds, 29
         F.4th at 553 n.6. But I suggest the Supreme Court’s
         instructions on this point are not so clear, and I would
         welcome guidance on whether we have followed those
         instructions correctly.
                                      A
             The Supreme Court used to tell us that the presumption
         against preemption applies to express-preemption provisions
         in areas of traditional state concern. But then, in Franklin,
         the Supreme Court—tasked to decide whether the
         Bankruptcy Act preempted a Puerto Rico debt-collection
                                                          (30 of 46)
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         statute—stated that “because the statute contains an express
         pre-emption clause, we do not invoke any presumption
         against preemption but instead focus on the plain wording of
         the clause, which necessarily contains the best evidence of
         Congress’ pre-emptive intent.” Franklin, 579 U.S. at 125
         (cleaned up). The Court went on to conclude that the statute
         was preempted—explaining that “the plain text of the
         Bankruptcy Code begins and ends [the] analysis” because
         “the statute’s language is plain.” Id. (cleaned up).
             In doing so, the Court, I suggest, left much room for
         confusion. The Franklin Court did not acknowledge—and,
         most importantly, did not expressly overturn—the decades
         of decisions applying the presumption against preemption to
         express-preemption provisions. And the Franklin Court did
         not resolve—nor even discuss—the scope of the rule it was
         applying. Was the Franklin Court simply electing to “not
         invoke” the presumption in a case easily answered by the
         “plain” statutory text? Perhaps Franklin’s rule prohibits the
         application of the presumption to all express-preemption
         provisions. But perhaps Franklin’s rule also depends on
         other considerations—such as whether the statute operates
         in an area of traditional state concern, see Bates, LLC, 544
         U.S. at 449, or whether the preemption provision is truly in
         equipoise, see Shuker v. Smith & Nephew, PLC, 885 F.3d
         760, 771 n.9 (3d Cir. 2018); Bates, 544 U.S. at 432
         (explaining that even if another “plausible alternative”
         reading were available, “this Court would have a duty to
         accept the reading disfavoring pre-emption”). Perhaps the
         Court is moving away from applying preemption with an eye
         to the legislative intent and purpose that were so important
         during the Cipollone era, and toward an approach centered
         on the plain text enacted by Congress. Compare, e.g.,
         Franklin, 579 U.S. at 125 (beginning and ending the analysis
                                                          (31 of 46)
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         with “plain text”), with Medtronic, 518 U.S. at 485, 490–91
         (examining the “basic purpose of the legislation as well as
         its history”).      With respect, Franklin leaves much
         unanswered—and I wonder if its “drive-by ruling,” which
         appears to “contradict[] the many cases before,” Whitman,
         574 U.S. at 1003 (Scalia, J., statement respecting denial of
         certiorari), really goes so far as to abrogate the decades of
         case law applying the presumption to express-preemption
         provisions in so many different statutes.
                                      B
             Our court has adopted a broad understanding of the
         precedential sweep of Franklin’s passing statement. In
         several post-Franklin decisions, we have explained, without
         any apparent reservation, that when “‘the statute contains an
         express pre-emption clause, we do not invoke any
         presumption against pre-emption but instead focus on the
         plain wording of the clause, which necessarily contains the
         best evidence of Congress’ pre-emptive intent.’” Int’l Bhd.
         of Teamsters, Loc. 2785 v. Fed. Motor Carrier Safety
         Admin., 986 F.3d 841, 853 (9th Cir. 2021) (quoting Franklin,
         579 U.S. at 125) (cleaned up); see also Nat’l R.R. Passenger
         Corp. v. Su, 41 F.4th 1147, 1153 n.1 (9th Cir. 2022) (same);
         Reynolds, 29 F.4th at 553 n.6 (same); Connell v. Lima Corp.,
         988 F.3d 1089, 1097 (9th Cir. 2021) (same); Atay v. Cnty. of
         Maui, 842 F.3d 688, 699 (9th Cir. 2016) (same). Our circuit
         has also declined to apply the presumption even beyond
         Franklin’s immediate context—including in areas of
         traditional state concern, see Int’l Bhd. of Teamsters, 986
         F.3d at 853, and cases involving statutory ambiguity, see
         Reynolds, 29 F.4th at 553 n.6. Perhaps that is a plausible
         reading of the Supreme Court’s instructions, when all the
         Court’s cases are read together. But I have my reservations,
                                                          (32 of 46)
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         and I regret that, with due respect for my colleagues, we have
         not meaningfully grappled with the issue.
                                       1
              First, I am not convinced that we have correctly followed
         the Supreme Court’s instructions in this admittedly troubled
         area. The Supreme Court is always free, of course, to change
         its precedent. But our court does not enjoy such power. As
         explained, while Franklin declined to invoke the
         presumption, it also declined expressly to mention—much
         less to overrule—the many cases where the Court had
         repeatedly applied the presumption. I do not read Franklin’s
         passing remark as sub silentio overruling the decades of
         Supreme Court cases that held—indeed, mandated—that the
         presumption applies. And I have real doubts about whether
         Franklin abrogated Ninth Circuit precedents that rested on
         pre-Franklin Supreme Court decisions. Perhaps Franklin’s
         rule could be read modestly and reconciled with some of
         those decisions. See Shuker, 885 F.3d at 771 n.9 (giving
         Franklin a narrow reading). And perhaps Franklin could be
         understood to leave intact circuit precedents that were based
         on Supreme Court decisions that Franklin declined directly
         to disturb. See, e.g., Air Conditioning, 410 F.3d at 495
         (relying on Medtronic, 518 U.S. at 485); Golden Gate Rest.
         Ass’n v. City & Cnty. of San Francisco, 546 F.3d 639, 647
         (9th Cir. 2008) (relying on Travelers, 514 U.S. at 661); cf.
         Dialysis, 938 F.3d at 259 n. 11 (concluding that Franklin did
         not abrogate circuit precedent predicated on Travelers). In
         the face of so much law from the Court requiring the
         application of the presumption over the years, I would not
         rush to read Franklin as categorically establishing that the
         presumption is inapplicable to express-preemption
         provisions across the board.
                                                          (33 of 46)
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                                       2
              Second, whatever the extent of Franklin’s reach, I am
         concerned that our court has not adequately grappled with
         this difficult question. I regret that essentially none of our
         decisions relying on Franklin to jettison our pre-Franklin
         approach offered any express discussion of the Miller or
         Agostini doctrines—ordinarily a requirement for us to act in
         the teeth of old precedent. See, e.g., Miller, 335 F.3d at 900
         (holding that a prior circuit authority is only abrogated where
         it is “clearly irreconcilable” with the “reasoning or theory of
         intervening higher authority”); Agostini, 521 U.S. at 237
         (holding that “lower courts should follow the case which
         directly controls, leaving to this Court the prerogative of
         overruling its own decisions”). Our cases that have
         addressed Franklin’s scope and effect have said, with all due
         respect, very little—and, with due respect again, nothing that
         directly addresses the inquiries Miller and Agostini require
         us to conduct. See Nat’l R.R. Passenger Corp., 41 F.4th at
         1153 n.1; Reynolds, 29 F.4th at 553 n.6; Teamsters, Loc.
         2785, 986 F.3d at 853; Atay, 842 F.3d at 699; Connell, 988
         F.3d at 1097. Perhaps our court has correctly interpreted the
         Supreme Court’s instructions, but the lack of any meaningful
         engagement with the question does not inspire confidence.
                                       3
             But I do not write on a blank slate. Even though Air
         Conditioning applied the presumption to an express-
         preemption provision in EPCA, I understand the Ninth
         Circuit precedent since Franklin to instruct that the broad
         reading of Franklin is now our court’s law—meaning that at
         least where, as here, we are tasked to interpret the
         preemptive scope of a new express-preemption provision,
         the presumption against preemption is inapplicable. See,
                                                          (34 of 46)
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         e.g., Reynolds, 29 F.4th at 553 n.6; supra at 31 (collecting
         cases establishing this rule). Under this approach, even if
         Air Conditioning continues to govern the specific
         preemption provisions it was tasked to construe (42 U.S.C.
         §§ 6297(a), 6316(a)-(b)), it should not be extended to the
         neighboring-but-distinct express-preemption provision we
         are required to interpret today (42 U.S.C. § 6297(c))—and
         so the presumption does not apply here. Perhaps that is a
         puzzling and unsatisfying result. But it is the one that Ninth
         Circuit precedent seems to require.
                                       C
              One final note. I am not alone in my confusion over how
         to interpret the Supreme Court’s instructions. As others have
         observed, the Supreme Court’s “somewhat varying
         pronouncements on presumptions in express preemption
         cases” have caused divisions in the circuits, in what Judge
         Wilkinson has described as “the great preemption wars.” Air
         Evac, 910 F.3d at 762 n.1 (collecting varying Supreme Court
         instructions); see also Dialysis, 938 F.3d at 258 (collecting
         circuit split).
             There is much confusion over how broadly to read
         Franklin’s passing remark—and what to do with the many
         cases, unmentioned by Franklin, where the presumption had
         applied. Some circuits (including ours) have read Franklin
         broadly to prohibit applying the presumption to express-
         preemption provisions in future cases. See Atay v. Cnty. of
         Maui, 842 F.3d 688, 699 (9th Cir. 2016); Dialysis Newco,
         Inc. v. Cmty. Health Sys. Grp. Health Plan, 938 F.3d 246,
         259 (5th Cir. 2019); Watson v. Air Methods Corp., 870 F.3d
         812, 817 (8th Cir. 2017); EagleMed LLC v. Cox, 868 F.3d
         893, 903 (10th Cir. 2017). Other courts, however, are not so
         sure—and the Third Circuit, at least, has read Franklin to
                                                          (35 of 46)
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         permit applying the presumption where an express-
         preemption provision implicates an area of traditional state
         concern. See Shuker, 885 F.3d at 771 n.9; cf. Air
         Conditioning, 410 F.3d at 496 n.1.
             As inferior-court judges, we ultimately must address the
         important question about whether Franklin has spoken with
         sufficient clarity to abrogate existing Supreme Court and
         circuit precedent—or whether Franklin can be reconciled
         with at least some of those cases. See, e.g., Miller, 335 F.3d
         at 900 (abrogation of circuit precedent); Agostini, 521 U.S.
         at 237 (abrogation of Supreme Court precedent); Khan v.
         State Oil Co., 93 F.3d 1358, 1363 (7th Cir. 1996) (Posner,
         J.). While some circuits have given that issue careful
         attention, Dialysis, 938 F.3d at 259 n.11 (declining to
         “extend” a pre-Franklin circuit decision that rested on
         Travelers, but also declining to “abrogate[]” it), the question
         of Franklin’s abrogating reach remains unsettled—with
         significant implications for the vast and important areas of
         law where Congress has sought to extend federal supremacy.
                        *              *               *
             We are duty-bound to apply binding precedents of the
         Supreme Court and the Ninth Circuit. Alas, those precedents
         “are not always clear, consistent, or coherent.” Separation of
         Church & State Comm. v. City of Eugene of Lane Cnty.,
         State of Or., 93 F.3d 617, 627 (9th Cir. 1996) (O’Scannlain,
         J., concurring). Here, I believe I am bound by our post-
         Franklin precedents to hold that the presumption is
         inapplicable to the express-preemption provision before us
         today. And for that reason, I join the panel’s opinion. But I
         remain concerned that this area of law is troubling and
         confused, with tensions in the Supreme Court’s precedents,
         splits in the circuits, and important practical questions
                                                          (36 of 46)
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         unanswered. Greater clarity and further guidance from the
         Court on how to navigate preemption doctrine after Franklin
         would be most welcome.


         BAKER, Judge, concurring:
             I write separately to express my reservations about the
         California Restaurant Association’s standing and to explain
         my understanding of why the City of Berkeley’s Ordinance
         No. 7,672-N.S. (“Ordinance”) invades the core area
         preempted by the Energy Policy and Conservation Act
         (“EPCA”), 42 U.S.C. § 6297(c).
                                       I
             To have associational standing, an organization must
         establish that:

                (a) its members would otherwise have
                   standing to sue in their own right;
                (b) the interests it seeks to protect are
                   germane to the organization’s purpose;
                   and
                (c) neither the claim asserted nor the relief
                    requested requires the participation of
                    individual members in the lawsuit.

         Associated Gen. Contractors of Am., San Diego Chapter,
         Inc. v. Cal. Dep’t of Transp., 713 F.3d 1187, 1194 (9th Cir.
         2013) (“AGC”). The second and third elements of this test
         are not in dispute here.
             As to the first element, an organization must establish
         that “a member suffers an injury-in-fact that is traceable to
                                                          (37 of 46)
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         the defendant and likely to be redressed by a favorable
         decision.” Id. (citing Braunstein v. Ariz. Dep’t of Transp.,
         683 F.3d 1177, 1184 (9th Cir. 2012)). To do so, the
         organization must make “specific allegations establishing
         that at least one identified member had suffered or would
         suffer harm.” Id. (emphasis by the AGC court and quoting
         Summers v. Earth Island Inst., 555 U.S. 488, 498 (2009)).
         This “requirement of naming the affected members has
         never been dispensed with in light of statistical
         probabilities.” Id. (quoting Summers, 555 U.S. at 498–99).1
         Thus, when an organizational plaintiff asserting
         associational standing failed at summary judgment to
         “identify any affected members by name” or “submit[ ]
         declarations by any of its members attesting to harm they
         have suffered or will suffer” from the challenged policy, we
         held that the organization could not rely on “the general
         allegations in its complaint asserting that its members would
         suffer harm” and dismissed the appeal for lack of standing.
         AGC, 713 F.3d at 1194–95. 2
            Here, the standing allegations in the California
         Restaurant Association’s complaint identify no individual
         member injured by the challenged Berkeley Ordinance:



         1
           The only exception to this rule is “where all the members of the
         organization are affected by the challenged activity.” Summers, 555 U.S.
         at 499 (emphasis in original).
         2
           In Summers, the organizational plaintiff failed to identify any injured
         members at trial. See 555 U.S. at 500 (holding that supplementation of
         the district court record to receive affidavits from the organization’s
         members was not permitted “in the circumstances here: after the trial is
         over, judgment has been entered, and a notice of appeal has been filed”)
         (emphasis in original).
                                                          (38 of 46)
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                  The CRA’s members include both restaurant
                  owners and chefs. It has members that do
                  business in Berkeley, California, or who seek
                  to do business in Berkeley, whose interests
                  will be directly affected by this Ordinance.
                  The CRA has one or more members who are
                  interested in opening a new restaurant or in
                  relocating a restaurant to a new building in
                  Berkeley after January 1, 2020, but who
                  cannot do so because of the Ordinance’s ban
                  on natural gas. One or more members would
                  seek to open or relocate a restaurant in a new
                  building in Berkeley but for the ban on
                  natural gas. . . .

         Under Summers and our decision in AGC, the Association’s
         failure to identify any specific member injured by the
         Ordinance could be fatal to its standing. See Summers, 555
         U.S. at 499 (“In part because of the difficulty of verifying
         the facts upon which such probabilistic standing depends,
         the Court has required plaintiffs claiming an organizational
         standing to identify members who have suffered the requisite
         harm . . . .”) (emphasis added). 3
             But AGC is not our last word on Summers. More
         recently, in National Council of La Raza v. Cegavske—as

         3
           Relying on circuit precedent, Natural Resources Defense Council v.
         EPA, 735 F.3d 873 (9th Cir. 2013), the panel correctly holds that the
         Association’s allegations sufficiently allege a “credible threat” of a
         “probabilistic harm” for standing purposes at the pleading stage. Opinion
         at 10. In that case, which came to us on a petition for review of agency
         action, the organizational petitioner identified some of its injured
         members by attaching their declarations to its brief. See, e.g., No. 12-
         70268, Dkt. No. 18-3.
                                                          (39 of 46)
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         here, on appeal from dismissal at the pleading stage—we
         rejected the argument “that Summers, an environmental case
         brought under the National Environmental Policy Act,
         stands for the proposition that an injured member of an
         organization must always be specifically identified in order
         to establish Article III standing for the organization.” 800
         F.3d 1032, 1041 (9th Cir. 2015). Instead, we stated that an
         organization asserting associational standing need not
         identify an injured member “[w]here it is relatively clear,
         rather than merely speculative, that one or more members
         have been or will be adversely affected by a defendant’s
         action, and where the defendant need not know the identity
         of a particular member to understand and respond to an
         organization’s claim of injury.” Id.
             I think it is “relatively clear” that at least one of the
         Association’s members will be harmed by the challenged
         Ordinance, and the City doesn’t need to know the identity of
         that member to understand and respond to the Association’s
         complaint at the pleading stage. Thus, under Cegavske—
         which is in tension with Summers and our decision in AGC—
         the Association’s failure to identify in its complaint any
         member injured by the Ordinance does not defeat its
         standing.
              And quite apart from what we said in Cegavske, it’s
         unclear whether the requirement that an organizational
         plaintiff specifically identify injured members even applies
         at the pleading stage. As standing is an “indispensable part
         of the plaintiff’s case,” Lujan v. Defs. of Wildlife, 504 U.S.
         555, 561 (1992), it “must be supported in the same way as
         any other matter on which the plaintiff bears the burden of
         proof, i.e., with the manner and degree of evidence required
         at the successive stages of the litigation.” Id.
                                                          (40 of 46)
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             At the pleading stage, an organizational plaintiff need
         only assert “general factual allegations of injury [to its
         members] resulting from the defendant’s conduct . . ., for on
         a motion to dismiss [a court] presume[s] that general
         allegations embrace those specific facts that are necessary
         to support the claim.” Id. (cleaned up and emphasis added).
         Here, because we presume that they are true, the complaint’s
         general factual allegations of injury to the Association’s
         members arguably suffice even though those allegations
         identify no injured member. 4 But see Draper v. Healey, 827
         F.3d 1, 3 (1st Cir. 2016) (Souter, J.) (advocacy group lacked
         associational standing at the pleading stage because its
         “complaint did not identify any member of the group whom
         the regulation prevented from selling or purchasing a
         Glock”).
             Unlike at the pleading stage, however, at summary
         judgment “mere allegations” of injury are not enough, and
         an organizational plaintiff “must set forth by affidavit or
         other evidence specific facts” substantiating the factual
         allegations of injury to its members. Lujan, 504 U.S. at 561
         (cleaned up). “And at the final stage, those facts (if
         controverted) must be supported adequately by the evidence
         adduced at trial.” Id. (cleaned up). Thus, under Summers and

         4
           AGC appears to imply as much. See 713 F.3d at 1195 (distinguishing
         Northeastern Fla. Chptr. of Assoc. Gen. Contractors of Am. v. City of
         Jacksonville, 508 U.S. 656, 668–69 (2013), because it involved a verified
         complaint’s general allegations of injury to an organization’s members
         that “had to [be] “accept[ed] . . . as true” at summary judgment because
         they were unchallenged, whereas AGC involved an unverified
         complaint’s general allegations of injury disputed at summary judgment)
         (emphasis added). Here, even though the Association’s general
         allegations of injury are disputed, we must accept them as true because
         we are at the pleading stage.
                                                          (41 of 46)
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         our decision in AGC, at summary judgment or trial an
         organizational plaintiff is undoubtedly obligated to identify
         one or more of its injured members—among other “specific
         facts” detailing the nature of their asserted injury—even if
         Lujan dispenses with that requirement at the pleading stage.
                                           II
              Justice Scalia famously noted—in context of the
         Employee Retirement Income Security Act of 1974
         (ERISA)’s express preemption clause, 5 which employs
         broad “related to” language materially similar to EPCA’s, 6
         see Lamar, Archer & Cofrin, LLP v. Appling, 138 S. Ct.
         1752, 1759 (2018) (equating “ ‘[c]oncerning’ with ‘relating
         to’ ”); Morales v. Trans World Airlines, Inc., 504 U.S. 374,
         383 (1992) (defining “related to” as, among others, “to have
         bearing or concern”) (quoting Black’s Law Dictionary 1158
         (5th ed. 1979))—that “applying the ‘relate to’ provision
         according to its terms was a project doomed to failure, since,
         as many a curbstone philosopher has observed, everything is
         related to everything else.” Cal. Div. of Labor Standards
         Enf’t v. Dillingham Constr., N.A., Inc., 519 U.S. 316, 335
         (1997) (Scalia, J., concurring). Thus, the breadth of EPCA’s
         preemption provision, like ERISA’s, “does not mean the sky
         is the limit.” Dan’s City Used Cars, Inc. v. Pelkey, 569 U.S.
         251, 260 (2013). For that reason, EPCA preemption is

         5
          ERISA “supersede[s] any and all State laws insofar as they may now
         or hereafter relate to any employee benefit plan described in section
         1003(a) of this title.” 29 U.S.C. § 1144(a).
         6
           EPCA’s preemption clause provides that after a federal energy
         conservation standard applies to a covered product, “no State regulation
         concerning the energy efficiency, energy use, or water use of such
         covered product shall be effective with respect to such product.” 42
         U.S.C. § 6297(c).
                                                          (42 of 46)
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         unlikely to reach a host of state and local regulations that
         incidentally impact “the quantity of [natural gas] directly
         consumed by a [covered] product at point of use.” 42 U.S.C.
         § 6291(4).
             For example, nothing in EPCA’s text or structure
         suggests any concern with state and local taxes that might
         reduce consumption of natural gas. Thus, at least as far as
         EPCA is concerned, states and local governments are likely
         free to impose carbon taxes designed to discourage such
         consumption. Nor is there any indication from its text or
         structure that EPCA speaks to the distribution of natural gas.
         If a state or local government terminates existing gas utility
         service or declines to extend such service, EPCA likely has
         no application. 7
              But the challenged Ordinance does not implicate a
         utility’s distribution of natural gas. Instead, like EPCA, it
         assumes that gas service is otherwise available at premises
         with products covered by the federal statute. See BMC
         § 12.80.030(E) (defining prohibited “natural gas
         infrastructure” as “fuel gas piping, other than service pipe,
         in or in connection with a building, structure or within the
         property lines of premises, extending from the point of

         7
           For the same reason, EPCA’s preemption provision—which also
         encompasses state and local regulations “concerning the . . . [electricity]
         use” and “water use” of “covered product[s],” 42 U.S.C. § 6297(c)—
         almost certainly does not affect state or local measures to ration or curtail
         the distribution of water due to droughts or electricity due to wildfire risk
         or grid limitations. See Brief of Amici Curiae Energy and Environmental
         Law Professors in Support of Defendant-Appellee City of Berkely
         (Amici Law Professors), at 14, 17 (describing state and local authority to
         limit electricity and water distribution for various public purposes). As I
         read it, EPCA assumes that energy service or water is otherwise available
         to the premises at which a covered product is used.
                                                          (43 of 46)
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         delivery at the gas meter as specified in the California
         Mechanical Code and Plumbing Code”) (emphasis added).
              The Pacific Gas & Electric Company (PG&E)—the
         utility serving Berkeley—explains in a document cited by
         the Amici Law Professors that “the service delivery point for
         the gas supply is the point where PG&E’s facilities connect
         to the applicant’s house pipe (i.e., houseline).” Pacific Gas
         & Elec. Co., Electric & Gas Service Requirements (TD-
         7001M) 2022–2023, at 2-50 (2022) (“PG&E Manual”). 8
         The following diagram “illustrates a typical service delivery
         point,” id.:




         8
           https://www.pge.com/pge_global/common/pdfs/services/building-and
         -renovation/greenbook-manual-online/greenbook_manual_full.pdf.
                                                          (44 of 46)
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         Id. at 2-6. And to zero in even further, as shown in the side
         view of a typical meter below, the service delivery point is
         just after the meter:




         Id. at 2-51; see also id. at 2-49 (“The [customer’s] houseline
         at the service delivery point typically is located after the
         PG&E service tee for residential services.”).
             PG&E further explains that it “is responsible for
         maintaining the system that delivers natural gas, up to and
         including the gas meter.” Pacific Gas & Elec. Co., Natural
         Gas Customers: Important gas safety information regarding
         your pipelines at 1 (2021). 9 PG&E’s customers, on the other
         hand, are

                 responsible for maintaining the [customer]-
                 installed and owned gas service piping,
                 valves, automatic shut-off devices (e.g.,

         9
            https://www.pge.com/pge_global/common/pdfs/your-account/your-bill
         /understand-your-bill/bill-inserts/2021/0821-New-Gas-Customer.pdf.
                                                          (45 of 46)
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                earthquake valves), or other piping
                components on any premises or in any
                building.        These     [customer]-owned
                components must be installed downstream of
                (i.e., after) the gas supply service delivery
                point.

         PG&E Manual at 2-49. In short, the customer-owned piping
         constitutes everything downstream of the service tee fitting
         on the utility’s gas meter.
             The Berkeley Ordinance—a building code—prohibits
         the customer-owned piping that receives gas distributed by
         the utility at the meter, and scrupulously avoids touching on
         infrastructure owned by the utility, including the meter or the
         service pipe connecting the meter to the gas distribution
         main. And although EPCA has little, if anything, to say
         about a state or local government’s regulation of a utility’s
         distribution of natural gas to customers, it has everything to
         say about “State or local building code[s] for new
         construction concerning the . . . energy use of . . . covered
         product[s] . . . .” 42 U.S.C. § 6297(f)(3). “[R]egulation[s] or
         other requirement[s]” in such codes are preempted unless
         they “compl[y] with all of” various specified conditions. See
         id. § 6297(f)(3)(A)–(G). And it’s undisputed the Ordinance
         does not do so.
             Thus, far from having only “a tenuous, remote, or
         peripheral connection,” N.Y. State Conf. of Blue Cross &
         Blue Shield Plans v. Travelers Ins. Co., 514 U.S. 645, 661
         (1995), to the subject matter preempted by EPCA, the
         Berkeley Ordinance cuts to the heart of what Congress
         sought to prevent—state and local manipulation of building
         codes for new construction to regulate the natural gas
         consumption of covered products when gas service is
                                                          (46 of 46)
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         otherwise available to premises where such products are
         used. And as the panel explains, because EPCA would
         unquestionably preempt a building code that prohibited the
         attachment of covered appliances to the owner’s piping that
         receives gas at the utility’s service delivery point, it
         necessarily also preempts a building code that instead bans
         that piping to evade preemption. I therefore join the panel
         opinion in full.
            ADDENDUM B:
STATUTORY AND REGULATORY PROVISIONS
                              STATUTORY ADDENDUM

    Energy Policy and Conservation Act

    42 U.S.C § 6201 - Congressional statement of purpose
    The purposes of this chapter are—
    (1) to grant specific authority to the President to fulfill obligations of the United
    States under the international energy program;
    (2) to provide for the creation of a Strategic Petroleum Reserve capable of reducing
    the impact of severe energy supply interruptions;
    (3) Repealed. [* * * *]
    (4) to conserve energy supplies through energy conservation programs, and, where
    necessary, the regulation of certain energy uses;
    (5) to provide for improved energy efficiency of motor vehicles, major appliances,
    and certain other consumer products;
    (6) Repealed. [* * * *]
    (7) to provide a means for verification of energy data to assure the reliability of
    energy data; and
    (8) to conserve water by improving the water efficiency of certain plumbing products
    and appliances.

42 U.S.C § 6291. Definitions
    For purposes of this part:
      [* * * *]
      (2) The term "covered product" means a consumer product of a type specified
      in section 6292 of this title.
      (3) The term "energy" means electricity, or fossil fuels. The Secretary may, by
      rule, include other fuels within the meaning of the term "energy" if he determines
      that such inclusion is necessary or appropriate to carry out the purposes of this
      chapter.
      (4) The term "energy use" means the quantity of energy directly consumed by a
      consumer product at point of use, determined in accordance with test procedures
      under section 6293 of this title.
      (5) The term "energy efficiency" means the ratio of the useful output of services
      from a consumer product to the energy use of such product, determined in
      accordance with test procedures under section 6293 of this title.
      (6) The term "energy conservation standard" means-


                                          ADD-1
         (A) a performance standard which prescribes a minimum level of energy
         efficiency or a maximum quantity of energy use, or, in the case of showerheads,
         faucets, water closets, and urinals, water use, for a covered product, determined
         in accordance with test procedures prescribed under section 6293 of this title; or
         (B) a design requirement for the products specified in paragraphs (6), (7), (8),
         (10), (15), (16), (17), and (20) of section 6292(a) of this title; and includes any
         other requirements which the Secretary may prescribe under section 6295(r) of
         this title.
      [* * * * ]

42 U.S. Code § 6293. Test procedures.
(b) Amended and new procedures
    ****
    (3)Any test procedures prescribed or amended under this section shall be reasonably
    designed to produce test results which measure energy efficiency, energy use, water
    use (in the case of showerheads, faucets, water closets and urinals), or estimated
    annual operating cost of a covered product during a representative average use cycle
    or period of use, as determined by the Secretary, and shall not be unduly burdensome
    to conduct.
42 U.S. Code § 6295. Energy conservation standards
  (a) Purposes
      The purposes of this section are to-
        (1) provide Federal energy conservation standards applicable to covered
      products; and
        (2) authorize the Secretary to prescribe amended or new energy conservation
      standards for each type (or class) of covered product.
       [ * * * *]


42 U.S. Code § 6297. Effect on other law
  [* * * *]
  (c) General rule of preemption for energy conservation standards when Federal
    standard becomes effective for product
      Except as provided in section 6295(b)(3)(A)(ii) of this title, subparagraphs (B) and
    (C) of section 6295(j)(3) of this title, and subparagraphs (B) and (C) of section
    6295(k)(3) of this title and effective on the effective date of an energy conservation
                                            ADD-2
  standard established in or prescribed under section 6295 of this title for any covered
  product, no State regulation concerning the energy efficiency, energy use, or water
  use of such covered product shall be effective with respect to such product unless
  the regulation-
       (1) [* * * *]
       (2) is a regulation which has been granted a waiver under subsection (d);
       (3) is in a building code for new construction described in subsection (f)(3);
       (4) is a regulation concerning the water use of lavatory faucets adopted by the
    State of New York or the State of Georgia before October 24, 1992;
       (5) is a regulation concerning the water use of lavatory or kitchen faucets
    adopted by the State of Rhode Island prior to October 24, 1992;
       (6) is a regulation (or portion thereof) concerning the water efficiency or water
    use of gravity tank-type low consumption water closets for installation in public
    places, except that such a regulation shall be effective only until January 1, 1997;
    or
       (7)(A) is a regulation concerning standards for commercial prerinse spray valves
    adopted by the California Energy Commission before January 1, 2005; or
       (B) is an amendment to a regulation described in subparagraph (A) that was
    developed to align California regulations with changes in American Society for
    Testing and Materials Standard F2324;
       (8)(A) is a regulation concerning standards for pedestrian modules adopted by
    the California Energy Commission before January 1, 2005; or
       (B) is an amendment to a regulation described in subparagraph (A) that was
    developed to align California regulations to changes in the Institute for
    Transportation Engineers standards, entitled "Performance Specification:
    Pedestrian Traffic Control Signal Indications"; and
       (9) is a regulation concerning metal halide lamp fixtures adopted by the
    California Energy Commission on or before January 1, 2011, [* * * *]


(d) Waiver of Federal preemption
     (1)(A) Any State or river basin commission with a State regulation which provides
  for any energy conservation standard or other requirement with respect to energy
  use, energy efficiency, or water use for any type (or class) of covered product for
  which there is a Federal energy conservation standard under section 6295 of this
  title may file a petition with the Secretary requesting a rule that such State regulation
  become effective with respect to such covered product.
     (B) Subject to paragraphs (2) through (5), the Secretary shall, within the period
  described in paragraph (2) and after consideration of the petition and the comments
  of interested persons, prescribe such rule if the Secretary finds (and publishes such

                                          ADD-3
finding) that the State or river basin commission has established by a preponderance
of the evidence that such State regulation is needed to meet unusual and compelling
State or local energy or water interests.
  (C) For purposes of this subsection, the term "unusual and compelling State or
local energy or water interests" means interests which-
     (i) are substantially different in nature or magnitude than those prevailing in the
  United States generally; and
     (ii) are such that the costs, benefits, burdens, and reliability of energy or water
  savings resulting from the State regulation make such regulation preferable or
  necessary when measured against the costs, benefits, burdens, and reliability of
  alternative approaches to energy or water savings or production, including reliance
  on reasonably predictable market-induced improvements in efficiency of all
  products subject to the State regulation.

    [* * * *]




                                        ADD-4
                            Berkeley Municipal Code

                                  Chapter 12.80
    PROHIBITION OF NATURAL GAS INFRASTRUCTURE IN NEW
                                   BUILDINGS
 12.80.010 Findings and Purpose.

In addition to the findings set forth in Resolution No. 67,736-N.S., the Council
finds and expressly declares as follows:
A. Scientific evidence has established that natural gas combustion, procurement
and transportation produce significant greenhouse gas emissions that contribute to
global warming and climate change.
B. The following addition to the Berkeley Municipal Code is reasonably
necessary because of local climatic, geologic and topographical conditions as listed
below:
   (1) As a coastal city located on the San Francisco Bay, Berkeley is vulnerable
   to sea level rise, and human activities releasing greenhouse gases into the
   atmosphere cause increases in worldwide average temperature, which
   contribute to melting of glaciers and thermal expansion of ocean water--
   resulting in rising sea levels.
   (2) Berkeley is already experiencing the repercussions of excessive greenhouse
   gas emissions as rising sea levels threaten the City’s shoreline and
   infrastructure, have caused significant erosion, have increased impacts to
   infrastructure during extreme tides, and have caused the City to expend funds
   to modify the sewer system.
   (3) Berkeley is situated along a wildland-urban interface and is extremely
   vulnerable to wildfires and firestorms, and human activities releasing
   greenhouse gases into the atmosphere cause increases in worldwide average
   temperature, drought conditions, vegetative fuel, and length of fire seasons.
   (4) Structures in Berkeley are located along or near the Hayward fault, which is
   likely to produce a large earthquake in the Bay Area.
C. The following addition to the Berkeley Municipal Code is also reasonably
necessary because of health and safety concerns as Berkeley residents suffer from


                                      ADD-5
asthma and other health conditions associated with poor indoor and outdoor air
quality exacerbated by the combustion of natural gas.
D. The people of Berkeley, as codified through Measure G (Resolution No.
63,518-N.S.), the City of Berkeley Climate Action Plan (Resolution No. 64,480-
N.S.), and Berkeley Climate Emergency Declaration (Resolution No. 68,486-N.S.)
all recognize that rapid, far-reaching and unprecedented changes in all aspects of
society are required to limit global warming and the resulting environmental threat
posed by climate change, including the prompt phasing out of natural gas as a fuel
for heating and cooling infrastructure in new buildings.
E. Substitute electric heating and cooling infrastructure in new buildings fueled
by less greenhouse gas intensive electricity is linked to significantly lower
greenhouse gas emissions and is cost competitive because of the cost savings
associated with all-electric designs that avoid new gas infrastructure.
F. All-electric building design benefits the health, welfare, and resiliency of
Berkeley and its residents.
G. The most cost-effective time to integrate electrical infrastructure is in the
design phase of a building project because building systems and spaces can be
designed to optimize the performance of electrical systems and the project can take
full advantage of avoided costs and space requirements from the elimination of
natural gas piping and venting for combustion air safety.
H. It is the intent of the council to eliminate obsolete natural gas infrastructure
and associated greenhouse gas emissions in new buildings where all-electric
infrastructure can be most practicably integrated, thereby reducing the
environmental and health hazards produced by the consumption and transportation
of natural gas. (Ord. 7672-NS § 1 (part), 2019)


12.80.020    Applicability.
A. The requirements of this Chapter shall apply to Use Permit or Zoning
Certificate applications submitted on or after the effective date of this Chapter for
all Newly Constructed Buildings proposed to be located in whole or in part within
the City.
B. The requirements of this Chapter shall not apply to the use of portable propane
appliances for outdoor cooking and heating.


                                       ADD-6
C. This chapter shall in no way be construed as amending California Energy Code
requirements under California Code of Regulations, Title 24, Part 6, nor as
requiring the use or installation of any specific appliance or system as a condition
of approval.
D. The requirements of this Chapter shall be incorporated into conditions of
approval for Use Permits or Zoning Certificates under BMC Chapter 23B. (Ord.
7672-NS § 1 (part), 2019)


12.80.030     Definitions.
A. "Applicant" shall mean an applicant for a Use Permit or Zoning Certification
under Chapter 23B,
B. "Energy Code" shall mean the California Energy Code as amended and
adopted in BMC Chapter 19.36.
C. "Greenhouse Gas Emissions" mean gases that trap heat in the atmosphere.
D. "Natural Gas" shall have the same meaning as "Fuel Gas" as defined in
California Plumbing Code and Mechanical Code.
E. "Natural Gas Infrastructure" shall be defined as fuel gas piping, other than
service pipe, in or in connection with a building, structure or within the property
lines of premises, extending from the point of delivery at the gas meter as specified
in the California Mechanical Code and Plumbing Code.
F. "Newly Constructed Building" shall be defined as a building that has never
before been used or occupied for any purpose.
G. "Use Permit" shall have the same meaning as specified in Chapter 23B.32.
H. "Zoning Certificate" shall have the same meaning as specified in Chapter
23B.20. (Ord. 7672-NS § 1 (part), 2019)


12.80.040 Prohibited Natural Gas Infrastructure in Newly Constructed
             Buildings.
A. Natural Gas Infrastructure shall be prohibited in Newly Constructed Buildings.
   1. Exception: Natural Gas Infrastructure may be permitted in a Newly
   Constructed Building if the Applicant establishes that it is not physically
                                      ADD-7
   feasible to construct the building without Natural Gas Infrastructure. For
   purposes of this exception, "physically feasible" to construct the building
   means either an all-electric prescriptive compliance approach is available for
   the building under the Energy Code or the building is able to achieve the
   performance compliance standards under the Energy Code using commercially
   available technology and an approved calculation method.
B. To the extent that Natural Gas Infrastructure is permitted, it shall be permitted
to extend to any system, device, or appliance within a building for which an
equivalent all-electric system or design is not available.
C. Newly Constructed Buildings shall nonetheless be required at a minimum to
have sufficient electric capacity, wiring and conduit to facilitate future full building
electrification.
D. The requirements of this section shall be deemed objective planning standards
under Government Code section 65913.4 and objective development standards
under Government Code section 65589.5. (Ord. 7672-NS § 1 (part), 2019)


12.80.050     Public Interest Exemption.
A. Notwithstanding the requirements of this Chapter and the Greenhouse Gas
Emissions and other public health and safety hazards associated with Natural Gas
Infrastructure, minimally necessary and specifically tailored Natural Gas
Infrastructure may be allowed in a Newly Constructed Building provided that the
entitling body establishes that the use serves the public interest. In determining
whether the construction of Natural Gas Infrastructure is in the public interest, the
City may consider:
   1. The availability of alternative technologies or systems that do not use
   natural gas;
   2. Any other impacts that the decision to allow Natural Gas Infrastructure may
   have on the health, safety, or welfare of the public.
B. If the installation of Natural Gas Infrastructure is granted under a public
interest exemption, the Newly Constructed Buildings shall nonetheless be required
at the minimum to have sufficient electric capacity, wiring and conduit to facilitate
future full building electrification. (Ord. 7672-NS § 1 (part), 2019)



                                        ADD-8
12.80.060     Periodic Review of Ordinance.
The City shall review the requirements of this ordinance every 18 months for
consistency with the California Energy Code and the Energy Commission’s mid-
cycle amendments and triennial code adoption cycle as applicable. (Ord. 7672-NS
§ 1 (part), 2019)


12.80.070     Severability.
If any word, phrase, sentence, part, section, subsection, or other portion of this
Chapter, or any application thereof to any person or circumstance is declared void,
unconstitutional, or invalid for any reason, then such word, phrase, sentence, part,
section, subsection, or other portion, or the prescribed application thereof, shall be
severable, and the remaining provisions of this Chapter, and all applications
thereof, not having been declared void, unconstitutional or invalid, shall remain in
full force and effect. The City Council hereby declares that it would have passed
this title, and each section, subsection, sentence, clause and phrase of this Chapter,
irrespective of the fact that any one or more sections, subsections, sentences,
clauses or phrases is declared invalid or unconstitutional. (Ord. 7672-NS § 1 (part),
2019)


12.80.080     Effective Date.
The provisions of this chapter shall become effective on January 1, 2020. (Ord.
7672-NS § 1 (part), 2019)




                                       ADD-9
                         CERTIFICATE OF SERVICE

      I certify that I electronically filed the foregoing with the Clerk of the Court

for the United States Court of Appeals for the Ninth Circuit by using the appellate

CM/ECF system on May 31, 2023. I certify that all participants in the case are

registered CM/ECF users and that service will be accomplished by the appellate

CM/ECF system.

                                       /s/ Sean H. Donahue
